Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 1 of 78




              EXHIBIT 10
     Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 2 of 78




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                          EXPERT REPORT OF
                ANGELA C.E. THOMPSON, M.D., MPH, FACOG
     Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 3 of 78




                                                     TABLE OF CONTENTS

I.    Summary of Opinions .............................................................................................................. 3
II. Qualifications........................................................................................................................... 8
III. Medical Organizations Normally Treat Concerns of Sterilization Seriously—
       But Not When It Comes to Transgender Youth ...................................................................... 9
     A.        ACOG ............................................................................................................................. 9
     B.        WPATH and Endocrine Society ................................................................................... 13
IV. Biological Development: A Necessary Underpinning for Understanding How Fertility
       Preservation Techniques Work.............................................................................................. 14
     A.        Embryonic Development .............................................................................................. 16
        1.       Female Sex Developmental Pathway ......................................................................... 18
        2.       Male Sex Developmental Pathway ............................................................................. 19
     B.        Childhood and Pubertal Transition ............................................................................... 21
V. Effects of Puberty Blockers on the Developing Child and Young Adolescent ..................... 25
VI. Effects of Supraphysiologic Doses of Testosterone in Females............................................ 28
VII. Fertility Preservation Techniques in Gender-Diverse Children Who Undergo GAC
       at Tanner Stage 2 Are Experimental ..................................................................................... 36
     A.        Fertility Preservation Options for Females ................................................................... 37
     B.        Fertility Preservation Options for Males....................................................................... 44
     C.        Fertility Preservation is Unrealistic at Tanner Stage 2 ................................................. 47
     D.        Fertility Preservation Counseling for Youth Receiving GAC is Inadequate ................ 49
VIII.        Response to Plaintiffs’ Experts ...................................................................................... 51
IX. Conclusion ............................................................................................................................. 61
References ..................................................................................................................................... 62




                                                                        2
   Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 4 of 78




        1.      My name is Angela C.E. Thompson. I am over the age of 19, I am qualified to give

this declaration, and I have actual knowledge of the matters stated herein. I am a physician certified

by the American Board of Obstetrics and Gynecology to practice within the specialty of Obstetrics

and Gynecology. I am also a Fellow of the American College of Obstetrics and Gynecology. My

professional background, experience, and publications are detailed in my curriculum vitae, which

is attached to this report.

        2.      I have been retained by counsel for Defendants to provide an expert opinion on the

fertility considerations of administering to minors gonadotropin releasing hormone agonists

(GnRHa), colloquially known as “puberty blockers,” followed by supraphysiological doses of

cross-sex hormones. This report discusses (a) the medical evidence regarding the risks such

treatment poses to healthy biological function; (b) whether children in early puberty can assent to

such treatment; and (c) the prospects of experimental fertility preservation techniques in early

pubertal children who undergo such treatment. I may wish to supplement my opinions or the bases

for them as new research is published or in response to statements made in my area of expertise.

        3.      I have not provided expert testimony in the last four years.

        4.      If called to testify in this matter, I would testify truthfully and based on my expert

opinion. I am being compensated at a rate of $350 per hour. My compensation does not depend on

the outcome of this litigation, the opinions I express, or the testimony that I provide.

                                  I.      Summary of Opinions

        5.      The prevailing literature describes “gender affirming care” in the following ways:

1) Gender affirming endocrine treatments (Hembree 2017 pg 3869); and 2) A process of

intervention known as “gender affirmation” (Rafferty 2018 pg 5). It is my professional medical

opinion that the current “gender affirming care” (“GAC”) regimen, specifically the regimen that




                                                  3
   Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 5 of 78




administers Gonadotropin releasing hormone agonist (GnRHa) medication (colloquially termed

“puberty blockers”) at Tanner Stage 2 of puberty, followed directly by supraphysiologic cross sex

hormones, creates an iatrogenic disease state in otherwise developmentally healthy children and

young adolescents that continues into adulthood. (“Iatrogenesis” is defined as the creation of

additional problems or complications resulting from treatment by a physician or surgeon

(Dorland’s 29th ed).) The iatrogenic risks of this regimen include: decreased bone density

associated with a high risk of osteoporosis, loss of IQ and spatial memory that is not reversible,

increased anxiety (seen in animal models (Biggs 2022 pg 11, 12)), and brain development

(Bangalore Krishna 2019 pg 365) and fertility risks (Hembree 2017 pg 3880, Bangalore Krishna

2019 pg 365, WPATH 2022 16.1-16.), including permanent sterility (Harris 2020 pg 2454). The

most severe risks include shortened life span as adults (de Blok 2021) and sterilization. In my

professional opinion, the severe risks of this life-long iatrogenic disease state, for a condition with

no physical locus within the body (Schwartz 2021, pg 1) are not outweighed by the regimen’s

unproven benefits (Byng 2019 pg 1, Griffin 2020 pg 5, Biggs 2022 LTE pg 668).

       6.      The purported benefits of GAC rely upon idiosyncratic views of “gender,” which

is not a medical term and has no agreed-upon meaning and is not observable in any clinical

capacity. Gender has been used to describe social norms of male and female behavior, but it serves

no physiologic function. As a result, the literature conflates phrases like gender dysphoria, gender

incongruent, gender diverse, transgender, and gender questioning. Only gender dysphoria is a

psychiatric diagnosis listed in the Diagnostic and Statistical Manual of Mental Disorders (DSM V).

Simply identifying as transgender or any gender minority is not a pathological condition (i.e., it is

not caused by or considered to be a disease).




                                                  4
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 6 of 78




       7.      Consequently, the GAC medicalized regimen creates actual physical pathology

where none exists. Altering the body to such extremes has not been shown by any high-quality

study or review of the literature to improve long-term mental health outcomes for vulnerable

children and adolescents.1 There is a well-recognized paucity of studies examining the use of

puberty blockers and cross-sex hormones on children under 13.5 to 14 years of age (Hembree 2017

pg 3883), and even fewer studies involving children younger than 12 years of age (Olsen-Kennedy

2019 pg 3). This lack of data itself renders any assertion of GAC’s benefits for these children

highly speculative at best.

       8.      It is my professional opinion that children with gender dysphoria, gender

incongruence, gender nonconformity, and those who identify as transgender, or any other gender



1
  Byng R, Bewley S (2019) BMJ 9;367:i6439 doi:10.1136/bmj.l6439; Carmichael P, Butler G,
Masic U, et al. Short-term outcomes of pubertal suppression in a selected cohort of 12 to 15 year
old young people with persistent gender dysphoria in the UK. PLOS One Feb 2021
https://doi.org/10.1371/journal.pone.023894;
Abbruzzese E, Levine S, Mason J (2022) The Myth of ‘Reliable Research” in Pediatric Gender
Medicine: A critical evaluation of the Dutch Studies—and research that has followed. Journal of
Sex and Marital Therapy https://doi.org/10.1080/0092623X.2022.2150346;
Cass, H. The Cass Review Interim Report Feb. 2022. https://cass.independent-
review.uk/publications/interim-report;
National Institute for Health and Care Excellence (2020). Evidence Review: Gonadotrophin
Releasing Hormone Analogues for Children and Adolescents with Gender Dysphoria.
https://cass.independent-review.uk/nice-evidence-reviews;
National Institute for Health and Care Excellence (2020). Evidence Review: gender-affirming
horones for children and adolescents with gender dysphoria. https://cass.independent-
review.uk/nice-evidence-reviews;
Swedish Agency for Health Technology Assessment and Assessment of Social Services. Gender
dysphoria in children and adolescents: an inventory of the literature. A systematic scoping review
Dec 20, 2019 https://www.sbu.se/en/publications/sbu-bereder/gender-dysphoria-in-children-and-
adolescents;
Pasternack I, Soderstrom I, Saijonkari M, Makela M. Medical Methods in the treatment of gender
dysphoria related to gender variations. A systematic review. Helsinki 15.5.2019.
www.summaryx.eu;
Council for Choices in Health Care in Finland (COHERE). Medical treatments for gender
dysphoria that reduces functional capacity in transgender people-recommendation. 11 June 2020
www.palveluvalikoima.fi/en.


                                                5
   Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 7 of 78




identity, should mature with their functional biological processes intact and without the

introduction of iatrogenic risks to their capacity for healthy physiologic functioning, especially

reproductive function. Gender dysphoria has no locus anywhere on the physical body, and GAC

artificially creates a physical pathology where none existed, destroying the right of a child to

develop with his or her functional bodily capacity intact. Moreover, because blocking puberty at

the earliest signs of pubertal development (called Tanner stage 2) and then administering cross-

sex hormones significantly risks future fertility (Klipstein 2020), GAC violates the child’s right to

an open future in which his or her future reproductive goals can be actualized (Harris 2020 pg

2259).

         9.    It is also my professional opinion that children and adolescents who undergo the

current regimen of GAC do not have the developmental, intellectual, or emotional maturity to

assent to the treatments. Nor do their parents have the ability to provide fully informed consent

because there are no guidelines regarding fertility preservation for transgender individuals, and

this confines the effectiveness of fertility counseling (Choi 2022 pg 10). Studies have shown that

discussions surrounding fertility preservation even for children with cancer are underutilized and

family satisfaction with the process is lacking (Klipstein 2020 pg 10); this also appears to be the

case for fertility preservation counseling for children who are undergoing the medicalized GAC

regimen. There are no clear guidelines or standard practices for fertility preservation counseling

for transgender youth (Harris 2020 pg 2453). Fertility preservation counseling for transgender-

identifying youth reveals varying degrees of understanding amongst parents and guardians (Harris

et al. 2020 pg 2456), and less than 5% of transgender adolescents in one study accessed fertility

preservation (Pang et al. 2020). Another study has shown that 35.9% of transgender and gender

non-conforming adolescents were interested in biological parenthood, but that only 13.5% had




                                                 6
   Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 8 of 78




discussed effects of hormones on fertility (Cheng 2019 pg 12). The variance of what children and

adolescents express about their future reproductive goals and actually receiving informed

discussions about fertility and fertility preservation is very concerning, because it is well

documented in the medical literature that potential risks of long-term exposure to hormones

confers to the patient (or future offspring) are unknown (Cheng 2019).

        10.     All these data call into question how well the informed-consent process relays

crucial facts about the permanent implications of GAC and the very limited, experimental options

for “fertility preservation” available to young children and adolescents who undergo this regimen.

There are no robust data that address fertility outcomes in these young patients for whom GAC

began at Tanner stage 2. It is noted that “prepubertal transgender children may be forced to choose

whether they want to experience permanent changes to their body associated with puberty or

whether they want to transition and risk irreversible infertility” (Cheng 2019 pg 215). Up to 95%

of transgender children undergoing medical treatment could experience permanent sterility (Harris

2020 pg 2462).

        11.     There are available, non-experimental fertility preservation technologies for use

after natal pubertal transition is fully complete, and we do have some data regarding female

patients who have taken testosterone after their female pubertal development was complete (Light

et al. 2014). In contrast, the “fertility preservation” options for pre- and early pubertal children are

still experimental. There have been only two live births ever reported for any female who

underwent ovarian tissue cryopreservation prior to onset of menses. As for pre- or early pubertal

males, any discussion regarding fertility preservation at Tanner stage 2 of puberty is purely

theoretical, as the only data that currently exists regarding the possibility of achieving

spermatogenesis from immature spermatogonal stem cells is from animal models (Ainsworth 2020




                                                   7
   Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 9 of 78




pg 786). Despite a long history of experimentation with trying to mature sperm from immature

human testes cells or testicular tissue, this has not yet been developed in humans (Ibitsham 2020

pg 15). Because the GAC regimen at early pubertal development (Tanner stage 2) will almost

certainly result in sterilization (there are no data providing any evidence to the contrary), and

because the “fertility preservation” options for these children are inaccessible, experimental, and

speculative, it is my opinion that any notion of informed consent to the risks of GAC at Tanner

stage 2 is illusory.

        12.     In the absence of compelling data, the GAC regimen at early pubertal development

(Tanner stage 2) constitutes a live experiment that significantly harms the physiologic functional

capacity of healthy children and adolescents.

                                       II.      Qualifications

        13.     I received my medical degree from the University of Utah and my residency

training in Obstetrics, Gynecology, and Women’s Health at the University of Minnesota. I have a

Master of Public Health degree from Yale University. I am Board Certified by the American Board

of Obstetrics and Gynecology and am a Fellow of the American College of Obstetrics and

Gynecology. My practice experience includes multispecialty group practice as well as academia.

In addition to clinical care, I teach medical students and medical residents in the specialties of

obstetrics and gynecology, family medicine, and emergency medicine.

        14.     I provide care, including medical and surgical care, for female patients at all areas

of the reproductive life span, from early puberty to post-menopausal. My care has included:

monitoring for gynecologic malignancies, endometriosis, painful menses (dysmenorrhea),

abnormal uterine bleeding, uterine fibroids, endometrial polyps, pre-cancerous lesions of the

cervix, menopausal symptoms, ovarian cysts, ovarian masses, infertility, polycystic ovary




                                                  8
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 10 of 78




syndrome, sexually transmitted infections, females with differences in sex development, and all

aspects of pregnancy, birth, and postpartum care, including surgical care for gynecologic or

obstetric emergencies. Currently, I concentrate my practice on caring for female patients in the

hospitalized setting, providing care in the antepartum, intrapartum, and postpartum periods. I also

perform surgical care for female patients with gynecologic or obstetrical emergencies. A

significant proportion of the patients for whom I provide care do not have access to a personal

physician/clinic for their obstetric or gynecologic care.

  III.     Medical Organizations Normally Treat Concerns of Sterilization Seriously—But
                        Not When It Comes to Transgender Youth

   A. ACOG

         15.   I have treated patients who identify as transgender in the context of pregnancy and

birth. My experiences caring for pregnant patients who identified as transgender led me to seek

guidance from the American College of Obstetrics and Gynecology (ACOG), as there is a dearth

of literature on this specific subject. I have trusted ACOG since I was a medical student, and much

of my practice is based on their clinical guidance. The time I began seeking this information also

coincided with the reports from the UK, where the Gender Identity Development Service (GIDS)

at the Tavistock and Portman NHS Trust was being sued by a young patient named Keira Bell

(Bell and Mrs. A v. The Tavistock and Portman NHS Foundation Trust, 2020). I had not been

aware that minors were allowed to undergo medicalization and surgery to alter their physical

bodies in an attempt to provide aesthetic congruence to match the opposite sex. I read an interim

board report from June 2015 and learned from the data that natal female patients actually had

worse mental health after one year on puberty blockers than at baseline (an increase in the

statement “I deliberately think about harming or killing myself”) (The Tavistock and Portman




                                                  9
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 11 of 78




NHS Foundation Trust 2015). This shocked me because the justification for initiating this

medicalized pathway was to improve psychological functioning.

       16.     At this same time, I read the ACOG Committee Opinion number 685, entitled “Care

for Transgender Adolescents,” which was published in January 2017 and reaffirmed in 2020

(ACOG Committee Opinion No. 685, withdrawn 2021). The document favorably discussed

medicalization of transgender minors with gonadotropin releasing hormone agonists (GnRHa) and

supraphysiologic doses of testosterone, even as it noted that “there is a concern that testosterone

may cause future damage to ovaries and, thus, lead to infertility.” It also recommended invasive,

irreversible procedures such as bilateral mastectomies (which the document called “top surgery”)

and other procedures (labeled “bottom surgeries”), such as hysterectomies (removal of the uterus),

oophorectomies (removal of the ovaries), and phalloplasties (the surgical creation of the facsimile

of a penis from skin and soft tissue removed from either the forearm or the thigh of a female

patient). (ACOG Committee Opinion No. 685, withdrawn 2021). ACOG’s recommendation of

these serious, life-altering procedures seemed to me to be at variance with the vast majority of

ACOG documents published on surgical interventions, which recommend caution and

safeguarding, especially in regard to fertility preservation in minors. As an example, a gynecologic

pathologic condition with known physical locus is endometriosis, which is known to be the leading

cause of secondary dysmenorrhea (pain during menstrual periods) in adolescents. According to

ACOG, the goals of therapy for this condition include symptom relief, suppression of disease

progression, and protection of future fertility, with the committee opinion specifically stating that

“adolescents with endometriosis should not be treated with oophorectomy [removal of the ovaries]

or hysterectomy [removal of the uterus].” (ACOG Committee Opinion No. 760, reaffirmed 2021).




                                                 10
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 12 of 78




       17.     ACOG has written extensively about the harms of medical abuse in the form of

coercion and sterilization of vulnerable women. It was therefore alarming to read about the

treatment of adolescents who identify as transgender involving invasive and often irreversible

sterilizing interventions for a condition that does not carry a medical diagnosis. (The document did

not mention gender dysphoria, and identifying as transgender is not a pathological condition.) The

ACOG Committee Opinion “Sterilization of Women: Ethical Issues and Consideration” expressly

and strongly cautions against treating sterilization lightly: “The suggestion that few protections are

needed has been met with deep concern from many reproductive justice advocates, who remain

worried about the potential for sterilization abuse of low-income women, women of color, or other

disadvantaged women.” (ACOG Committee Opinion No. 695, reaffirmed 2020). The opinion also

emphasizes that full cognitive maturation, including the capacity to incorporate long-term goals

into complex decisionmaking, is not reached until the mid-20s. Importantly, the opinion highlights

concerns with the counseling process for adult women seeking permanent sterilization.

       18.     There is an egregious history in the United States of sterilizations being performed

on disadvantaged and vulnerable women, and the counseling procedures for this intervention have

been called into question. As recently as 2006-2010, 140 incarcerated women in California were

sterilized; many of the women reported significant pressure from prison and hospital medical

personnel to undergo the sterilization procedure (ACOG Committee Opinion No. 695, reaffirmed

2020).This occurred even after the US Department of Health, Education, and Welfare developed

protective regulations in 1976 for Medicaid-funded women to prevent further coercive or non-

consensual procedures by prohibiting the sterilization of women younger than 21 years old and of

women with a mental disability. The regulations also required waiting periods before the consent

is obtained and the procedure performed (ACOG Committee Opinion No. 695, reaffirmed 2020).




                                                 11
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 13 of 78




       19.     It is well established that sterilization for a woman under 30 years of age leads to a

20.3% probability of regret (measured to 14 years from the procedure), compared to a rate of 5.9%

for women who are 30 or older when they are sterilized (ACOG Practice Bulletin No. 208, 2019).

Women under age 30 are also up to 8 times more likely to undergo procedures to try to reverse

sterilization compared to women 30 and older (ACOG Committee Opinion No. 695, reaffirmed

2020). The likelihood that women sterilized between the ages of 18-24 will request sterilization

reversal is 40.4%. Males who undergo vasectomy at young ages are also more likely to have the

procedure reversed than those who had the procedure performed at older ages (ACOG Practice

Bulletin No. 208, 2019). These documents from ACOG do not even mention sterilization in anyone

under 18 because it is uniformly not recommended in every clinical scenario—except, it now

seemed, when it pertained to adolescents who identified as transgender.

       20.     Because of the stark contrasts between the Committee Opinion 685 and the other

ACOG documents recommending safeguards around the procedure of sterilization, I

communicated my concerns to ACOG Clinical members about this document in January 2021. On

February 6, 2021, I submitted to ACOG the Board Papers from the Tavistock and Portman NHS

trust from 2015, which on page 53 reveals the data that the mental health of young female

adolescents worsened after administration of GnRHa. In March 2021, the ACOG Committee

Opinion 685 document was withdrawn and replaced with a new one, Committee Opinion 823,

“Health Care for Transgender and Gender Diverse Individuals,” (ACOG Committee Opinion No.

823, 2021) which does not specifically address patients still in the developmental phase of

adolescence.




                                                12
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 14 of 78




   B. WPATH and Endocrine Society

       21.     After this experience, I began to read the evidence base for gender affirming care

to treat gender dysphoria in minors. The studies done by the Dutch and the British had used

chronological age (minimum of age 12) to determine when to use puberty blockers (de Vries 2011

pg 2278, Table 1; Carmichael 2021), rather than stages of pubertal development. However, in

2017, the Endocrine Society issued guidelines to use Tanner stage 2 of pubertal development,

rather than chronological age, as the determining factor to start puberty blockers (Hembree et al.

2017 section 2.2). The World Professional Association for Transgender Health (WPATH)

standards of care (SOC 7) also recommended young people could start puberty blockers after they

had reached at least Tanner stage 2 of pubertal development (WPATH 2012). The current WPATH

guidelines, SOC 8, have no minimum age limit for hormonal or surgical interventions to transition

a minor.

       22.     The shift from using chronological age (an average of 13 years in the Amsterdam

Clinic study and 12 years in the Tavistock study) to Tanner stage 2 of pubertal development to

time GnRHa administration concerned me because the gametes of both males and females are not

fully mature at Tanner stage 2 of physiologic development. That means that the discussion about

“fertility preservation” is largely academic, not a clinical reality, because the technological

capacity for maturing gametes from a child or young adolescent at Tanner stage 2 is only available

in experimental, highly specialized onco-fertility centers for females, and it has not been

demonstrated in males outside of animal models.

       23.     Tanner stage 2 is when breast buds start to develop in females and when slight

scrotal enlargement occurs in males; this can occur as young as age 8 in female children and 9 in

male children (Olson-Kennedy et al. 2019). Gametes are usually mature (termed spermarche in




                                               13
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 15 of 78




males and menarche in females, for whom the phase of development is manifested by

menstruation) by Tanner stage 4 of clinical pubertal development (Emmanuel and Bokor 2022).

Use of Tanner stage 2 belies the frequent claim that “children (as opposed to adolescents) are not

treated with puberty blockers”; the American Academy of Pediatrics defines childhood as ages of

2-12 years. (Hardin et al. 2017).

       24.     Moreover, while puberty blockers are oft-cited as merely a “pause button,” in

clinical practice they seem to be a gateway to cross-sex hormone use by crystallizing gender

dysphoria as a first step on a cascade of interventions (Griffin et al. 2020 pg 5), with suppression

of puberty becoming a “self-fulfilling prophecy” (Biggs 2022 pg 5). This is also reflected in the

data from the Dutch clinicians, as well as the experience of the Tavistock clinic in London. (Biggs

2022 pg. 5). Yet WPATH advocates beginning to transition 8 or 9 year-old children at the first

signs of puberty, and the current WPATH document has no age limits to when medicalized or even

surgical intervention might be able to occur.

    IV.      Biological Development: A Necessary Underpinning for Understanding How
                           Fertility Preservation Techniques Work

       25.     Gender does not exist in the body or in any bodily structure or process; it is not

assigned at birth. The phrase “gender assigned at birth” is a misnomer. This is in contrast to sex,

which has observable characteristics that can readily be observed. The external phenotype

correlates over 99.98% of the time with the individual’s internal reproductive pathways and

gametes (Sax 2002). What this means is a newborn infant observed to have a penis and scrotum is

male; if there is a vulva, the baby is female. A physician is not needed to “assign” the sex of a

newborn child; mothers easily observe the sex of their children at birth and have done so for

centuries, before the medical establishment inserted itself into the birth process. Very rarely, there

are differences in sex development observed; in such rare cases, the sex can generally be known



                                                 14
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 16 of 78




with use of chromosomal analysis and non-invasive imaging procedures. It is important to

understand that individuals who are diagnosed with differences in sex development are still

determined to be female sex or male sex.

       26.     The following discussion conveys the facts of human development and physiologic

processes which are undermined at key pathways of healthy bodily function when the current

regimen of GAC is administered at Tanner stage 2 of pubertal development. It is necessary to

review physiologic development in order to explain how disruptions in this process by GnRHa and

supraphysiologic exogenous sex steroid administration leads to a disease state2 in the developing

juvenile human in nearly every organ system, including the reproductive system, where it renders

the juvenile human sterile. Especially for children younger than 12 (Olson-Kennedy et al 2019)

there is a dearth of research (Mahfouda et al 2017) to inform evidence-based practice for use of

puberty suppression; as such, this practice remains experimental.

       27.     First, I will discuss embryonic development and the process of sex differentiation.

Second, I will discuss normal childhood and pubertal development and how the use of GnRHa as

well as supraphysiologic hormone administration disrupts healthy biological processes by

inducing a disease state in these children and adolescents. Third, I will discuss the realities about

fertility preservation techniques and the significant limitations to implementation and practice.

Fourth, I will respond to the claims made by Plaintiffs’ experts. Last, I will discuss how attempts

to represent GAC as the “standard of care” (Coleman et al. 2022) are disingenuous since GAC is

based on poor evidence, violates a minor’s right to an open future with reproductive potential, and

constitutes a live experiment on vulnerable children and adolescents who are diagnosed with



2
 Disease is defined as any deviation from or interruption of the normal structure or function of a
part, organ, or system of the body as manifested by characteristic symptoms and signs; the etiology,
pathology, and prognosis may be known or unknown. (Dorland’s 29th ed.)


                                                 15
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 17 of 78




gender dysphoria or otherwise identify as gender incongruent, gender non-conforming,

transgender, nonbinary, or another gender minority.

       A.      Embryonic Development

       28.     Humans belong to the mammalian clade of the animal kingdom. Mammals

reproduce sexually by internal fertilization and give birth to living progeny which use mammary

glands for nutrition. The organization of mammalian species is divided between those with sessile,

large gametes (female) and small mobile gametes (male). Reproduction in mammals is binary.

       29.     In order to generate a human embryo, fertilization must occur. Fertilization is the

process by which a haploid (i.e., containing one set of unpaired chromosomes) female gamete

(ovum, 23 X) is fused with a single male gamete (spermatozoan, 23 X or 23 Y); the two gametes

exchange genetic material to restore the diploid (or complete, 46 XX or 46 XY) set of

chromosomes, half from the male and half from the female. If this is successful, the fertilized ovum

will undergo a series of divisions, the first of which is the zygote. The zygote contains its own

unique combination of genetic material in equal parts from each parent; it is unique. It has the

genetic potential for further development into a live birth so long as the combination is compatible

with development into the zygotic stage and the later processes of embryonic and fetal

development are not disrupted.

       30.     A series of mitotic divisions (“mitosis” is the division of one cell into two cells with

the same genetic components) in the successfully created zygote continues to occur, and is now

called a blastocyst. The multi-cellular blastocyst travels from the fallopian tube into the uterine

cavity where it is able to implant. Implantation into the uterine cavity occurs approximately 6-12

days post fertilization. If any developmental process prevents implantation, the mammalian human

embryo will not be able to survive and will cease to develop.




                                                 16
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 18 of 78




       31.     If the blastocyst implants successfully, further developmental processes of the

embryo can continue—provided no interruption occurs. This period of embryonic development is

known as organogenesis. In this stage of development, all the “blueprints” from the primordial

germ cells have the potential to create the developmental pathways from which all organ systems

develop.

       32.     Sex differentiation occurs during organogenesis. This process starts with germ cell

migration. The germ cells that will differentiate into the gametes are found in the primitive

endoderm within the yolk sac of the human embryo beginning at the 3rd week post fertilization.

An embryo with the XX sex chromosome complement is female, and those with XY are male; this

is determined at conception. The germ cells migrate along the dorsal mesentery of the hindgut

arriving at the primitive gonads at the 5th week and invade the genital ridges in the 6th week of

development (Langman’s Embryology 8th ed 2000, Lippincott; Langman’s Embryology 15th ed

2024, Wolters-Kluwer).

       33.     If the germ cells do not arrive at the site of the gonadal ridge, the gonads will not

develop. These germ cells are the direct precursors to the gametes (spermatogonia in the genetic

male embryo and the oogonia in the genetic female embryo). The gametes are unique from the rest

of the somatic (body) cells, because they undergo a specialized type of cell division called

“meiosis.”

       34.     Meiosis is an intricately timed process and is unique to male and female gametes

because the process allows the chromosomes from each parent to combine and generate a new

human zygote once the developmental process of sexual maturity is reached. The function of this

process is to ensure propagation of the species. In the female, the process of gametes undergoing

meiosis starts well before birth; in the male, the gametes do not enter meiosis until the pubertal




                                                17
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 19 of 78




transition. As I will detail in later sections, this process has extremely important implications for

fertility and fertility preservation in both females and males.

             1. Female Sex Developmental Pathway

       35.      Once the germ cells reach the gonad of the genetic female, they have an inductive

influence on the development of the gonad into the ovary. The surface epithelium of the ovary

continues to proliferate and penetrate the mesenchyme, and will eventually surround one or more

germ cells. The germ cells will differentiate into oogonia, and the epithelial cells will become the

follicular cells. By the end of the 3rd month post fertilization, the oogonia are arranged in clusters

surrounded by a single layer of flat epithelial cells. The majority of the oogonia germ cells continue

to divide by mitosis, but some will undergo meiosis.

       36.      By the end of the 7th month, nearly all of the oogonia that have entered meiosis

have undergone natural degradation (atresia) except for a few near the ovary surface. The oogonia

which start the process of meiosis are called the primary oocytes and are considered to be in

meiosis prophase 1. The primary oocyte, surrounded by the flat epithelial cells, is called the

primordial follicle.

       37.      Near the time of birth, the primary oocytes’ DNA is “arrested” in a phase of meiosis

prophase 1 known as “diplotene.” The granulosa (follicular) cells surrounding the oocyte keep the

oocyte in this arrested development phase until puberty by secreting a small protein called oocyte

maturation inhibitor.

       38.      Once in the diplotene stage, the primary oocytes enter a long period of

resting/quiescence before and beyond birth. The total number of primary oocytes present at birth

are approximately 600,000-800,000. Approximately half of these primary oocytes are lost due to

natural degeneration during childhood, leading to approximately 400,000 remaining at the start of




                                                 18
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 20 of 78




puberty. Only a small percentage of primary oocytes will be ovulated during the female’s

reproductive lifetime (Langman’s 2000, 2024).

        39.      In females, primary oocytes have already started the process of meiosis (which is

then arrested up until puberty) before birth; thus, they are potentially capable of maturation.

Importantly, the surrounding follicular cells of the primary oocyte—which are essential for

fertility—do not mature until the pubertal transition when menarche (also called menstruation)

occurs. These facts have implications for fertility preservation techniques, which I will describe

later in the report.

        40.      In the absence of the Y chromosome, the development of the female internal ductal

development and external urogenital system continues into fetal development. By the beginning

of the 4th month post fertilization, the Mullerian, (also called paramesonephric) internal ductal

system (the uterus, fallopian tubes, cervix, and upper third of the vagina) are complete. By 20

weeks post fertilization the external labia, clitoris, and lower portion of the vagina are developed

from the urogenital sinus, as is the vulva, which is observed at birth.

              2. Male Sex Developmental Pathway

        41.      Embryos with XY chromosome complements have a similar timeline of sexual

differentiation during the period of organogenesis, with a few key differences.

        42.      The germ cells invading the gonadal ridge will develop into testes if the SRY (testis

determining factor) is present on the short arm of the Y chromosome. The gene product of the

SRY gene is a transcription factor that helps express genes that encode for a protein called “MIS,”

or Mullerian inhibitory substance (also referred to as “anti-Mullerian hormone” or AMH), as well

as the hormone testosterone (Langmans 2000, 2024). Cells supporting the germ cells in the male

embryo are developed from the adjacent mesenchymal and epithelial cells. Fetal Leydig cells

develop from the mesenchyme and the Sertoli cells develop from the surface epithelium. The


                                                  19
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 21 of 78




Leydig and Sertoli cells are very important for the development of the male in many ways. They

ensure testosterone is present locally during the organogenesis of the genitourinary system in the

male, and provide nutrition and support for the immature germ cells that will eventually become

sperm in the male adult.

       43.     The fetal Leydig cells begin to secrete testosterone at eight weeks of embryonic

development. The Sertoli cells secrete a hormone called androgen binding hormone. Testosterone

in its active form, dihydrotestosterone, is required for the virilization of the external male genitalia

(scrotum and penis). Localized testosterone produced by fetal Leydig cells as early as 8 weeks

ensures virilization will continue throughout in utero development.

       44.     The sertoli cells secrete mullerian inhibitory substance (MIS), also known as anti-

mullerian hormone (AMH). MIS/AMH hormone causes the regression of the paramesonephric

ducts, meaning the female internal reproductive organs do not develop in the male embryo. The

mesonephric ducts will then develop into the ducts that comprise the vas deferens and epididymis.3

       45.     The germ cells that migrate to the genital ridge in the male embryo become

spermatogonia. They are present at birth in their immature form and will remain immature until

puberty occurs. That is, they have not yet started the unique cellular division known as meiosis.

This is in contrast to the oocytes in the female, which have already started the early stages of the

part of cellular division called meiosis and are arrested at this developmental phase until ovulation

occurs at puberty. Unlike the oocytes, the spermatogonia still must undergo a series of mitotic

divisions before they are ready to undergo meiosis and thus before they are mature. The maturation

of the diploid spermatogonia into the haploid mature spermatozoa is a very complex process and



3
  There are very rare genetic conditions in which there is incomplete expression of these genes
responsible for sexual differentiation, but these children still develop along the male or female
pathway depending on other factors important for the differentiation of the urogenital system.


                                                  20
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 22 of 78




it can only be confirmed with certainty to have occurred during male puberty at the period of

spermarche. Spermarche is the male corollary to menarche in the female. These processes occur

in late pubertal development, usually at Tanner stage 4 (Emmanuel & Bokor 2022). Thus, at

Tanner stage 2 in the male, gametes are still not mature. This fact has extremely important

implications for fertility and fertility preservation, as discussed later in this report.

    B. Childhood and Pubertal Transition

        46.     In the previous section, I outlined the embryonic developmental stages of

development as it pertains to sexual differentiation in the male and female embryo, continuing into

the fetal developmental stage. Once the fetus has delivered and is now in extrauterine life (i.e., is

outside the uterus), further growth of the neonate into infancy, childhood, and during the pubertal

transition is also susceptible to disruptions in physiological processes which can harm the

developing human.

        47.     Once the separation from the maternal and placental estrogen and progesterone

occurs at birth, the baby experiences a sudden decrease in maternal hormones. This sudden loss of

the maternal hormones will prompt the hypothalamus of the baby to release GnRH. GnRH will

cause the pituitary gland to release Luteinizing Hormone (LH) and Follicle Stimulating Hormone

(FSH). These hormones will then cause the ovaries in the female baby to produce estradiol; in the

male baby, these hormones will cause the testes to produce testosterone. The result of this process

is a very short period of estradiol increase in the female infant and testosterone increase in the male

infant. This transient rise in estradiol and testosterone in infants rapidly signals back to the

hypothalamus in the brain to stop release of FSH/LH; that, in turn, reduces the estradiol (in the

female) and testosterone (in the male) to very low levels until about 6-8 years in childhood. This

period is not well understood but is postulated to ‘set’ the hypothalamic/pituitary/gonadal




                                                   21
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 23 of 78




communication that is important for later pubertal transition (Speroff & Fritz 2005). Once

nighttime pulsatile secretion of GnRH starts to occur between ages 8-13 in females and 9-14 in

males, the very earliest pubertal transition has begun.

       48.     Gonadotropin Releasing Hormone (GnRH) is a small protein hormone. It is known

as a neurohormone because it is made in the part of the brain called the hypothalamus, connecting

it to the hormone gland called the pituitary by a delicate network of blood vessels called the

hypophyseal circulation. When GnRH is released by the hypothalamus, it lasts only 4-8 minutes

before it undergoes degradation (its half-life is 2-4 minutes). Because of GnRH’s short half-life

and dilutional effects that the circulation has on GnRH’s concentration once released, control of

the reproductive cycle depends on a constant release of GnRH. To achieve this, the arcuate nucleus

of the hypothalamus releases GnRH in a pulsatile fashion, the critical range of GnRH in the

circulation being very narrow.

       49.     Once out in the hypophyseal circulation, GnRH reaches the anterior pituitary gland

and binds to cells in the pituitary called gonadotropes. The immediate effect of this binding is the

release of LH and FSH from the gonadotrope cells. LH and FSH are also released in a pulsatile

fashion just like GnRH.

       50.     Once at the level of the ovary, the LH and FSH hormones (also referred to as

gonadotropins) act on the Theca and Granulosa cells respectively, which are cells supporting the

primary oocytes in the female ovary. At the level of the testes, gonadotropins act on the Leydig

and Sertoli cells supporting the male immature spermatogonia. In females, these hormones cause

the release of estradiol. In males, these hormones cause the release of testosterone. During early

puberty, the communication between the hypothalamus, pituitary, and gonads starts to develop and

mature; this process takes several years during pubertal transition.




                                                 22
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 24 of 78




       51.     Recall that primordial follicles in the human ovary are present before birth and

consist of an oocyte (“arrested” in the diplotene stage of meiosis I) and a single layer of flat

granulosa cells which support the oocyte. Primordial follicles that number in the millions during

mid-gestation naturally reduce to approximately 400,000 at the beginning of puberty. The

primordial follicles are in a consistent state of turnover and natural cell death called apoptosis,

which continues throughout the entire lifespan of the female.

       52.     Once early pulsatile release of FSH occurs during puberty, the follicle destined to

ovulate is “rescued” from natural cell death; the “fate” of the primordial follicle is apoptosis

(natural cell death) unless it is able to be “rescued” from this natural process with the increase in

FSH during puberty. The mechanism determining which primordial follicles will be “rescued,”

and thus progress to become the dominant follicle destined for ovulation, is not known. It is

postulated that the follicle is “singled out” for this process by a combination of “readiness” in the

microenvironment of the ovary, and appropriate levels of increased FSH in circulation (Speroff

and Fritz, 2005).

       53.     The primordial follicle that first responds to the FSH “signal” to grow is the follicle

destined to ovulate. In this process, the oocyte increases in size, and the granulosa cells surrounding

the primary oocyte change from flat to cuboidal and increase in number. Intricate channels called

gap junctions begin to develop between the granulosa cells and the oocyte. These gap junctions

are very important, because they allow nutrients and molecular signals to “pass,” which help grow

and sustain the oocyte as well as mature the granulosa cells. The continued growth of the oocyte

and the maturation of the granulosa cells are dependent upon the signals between these cells.

       54.     Under continued influence of FSH, the dominant follicle becomes surrounded by

the fluid present in the spaces between the granulosa cells, and a fluid-filled cavity forms. The




                                                  23
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 25 of 78




granulosa cells surrounding the oocyte within this cavity are called the cumulus oophorus. The

theca cells are adjacent to the granulosa cells in the ovary. The FSH receptors on the granulosa

cells, and the LH receptors on the theca cells, allow these cells to respond to these hormones. The

theca cells secrete androstenedione and testosterone (from the precursor cholesterol) which is then

aromatized to estradiol by the granulosa cells. The amount of estradiol produced is dependent on

the number of FSH receptors on the granulosa cells. Uterine blood flow rises sharply with elevated

estrogens during this phase, providing evidence of a physiological role of estrogens in vasodilation,

which help sustain the pregnancy if fertilization occurs by providing a physiologic mechanism by

which the pregnancy receives adequate oxygenation and nutrition from placental circulation (Li Y

et al 2021, Bai J et al 2020).

       55.     The increase in estradiol from the granulosa cells in response to FSH ultimately

causes a large increase in LH several hours before the dominant follicle undergoes ovulation. The

estradiol and progesterone levels are at their peak at this time (progesterone is secreted by the

corpus luteum in the ovary), and organize the endometrium to prepare for pregnancy. If

fertilization does not occur, the corpus luteum will fail to be “rescued” from programmed cells

death, which in turn causes estrogen and progesterone levels to fall; uterine lining is then shed in

response to the progesterone withdrawal, and the shedding of the endometrial lining of the uterus

that ensues is recognized as menstruation. Notably, the maturation of the supporting follicular

cells to create the cumulus oophorus, and thus the dominant follicle that is capable of being

ovulated, only occurs during puberty.

       56.     In males, the gametes themselves can mature only with puberty because the germ

cells have not yet entered the cellular division of meiosis (unlike the primary oocytes); this process

is dependent on LH and FSH release after GnRH signals the Leydig and Sertoli cells to mature the




                                                 24
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 26 of 78




spermatogonia into primary spermatocytes. Type A spermatogonia undergo mitosis and become

primary spermatocytes; after a prolonged prophase of about 22 days, these cells will then enter,

and rapidly complete, meiosis I and form secondary spermatocytes. Secondary spermatocytes

complete meiosis II and form spermatids. Spermatids are now haploid and able to undergo

spermiogenesis and mature spermatozoa. These mature spermatozoa enter the lumen of the

seminiferous tubules and gain motility in the epididymis. The process of maturing a spermatogonia

into a spermatozoan takes approximately 64 days.

         57.     In general, the first sign of puberty is an acceleration of growth followed by either

breast budding (thelarche) in females or increase in scrotal size in males. Sometimes adrenarche

(axillary and pubic hair) occurs prior to breast budding but often occurs two years after thelarche.

Menarche (the onset of the shedding of the endometrial lining, or menstruation) is a late event in

the pubertal transition in females, occurring after the peak of growth has passed—2 years on

average after thelarche when breast development is Tanner stage 4. In the United States, the

average age of menarche has been 12 years for over three decades.

         58.     Spermarche in males is the equivalent of menarche in females and occurs at Tanner

stage 4 of physical pubertal development (Emmanuel and Bokor 2022). Tanner stage 2 of pubertal

development occurs as early as age 8 in female children and age 9 in male children (Olson-

Kennedy et al. 2019). The American Academy of Pediatrics defines childhood as between 2 and

12 years of age (Hardin et al. 2017).

    V.         Effects of Puberty Blockers on the Developing Child and Young Adolescent

         59.     The mechanism of action of GnRH agonists—“puberty blockers”—ultimately

prevents the release of gonadotropin hormones LH and FSH from the pituitary gland, when

administered continuously. This action prevents these hormones from acting in the ovaries in




                                                  25
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 27 of 78




females and the testes in males, ultimately preventing the release of estradiol and testosterone,

respectively. If administered at Tanner stage 2, before gametes are mature, continuous

administration of GnRHa makes the full maturation of the gametes impossible.

        60.    A concern with the use of puberty blockers in female children before menstruation

has begun is the fact that the menstrual cycle can be used as a “vital sign,” and aberrations to the

cycle can be a sign of underlying physiologic disease (ACOG Committee Opinion 651, reaffirmed

2020).This shows that there are other consequences to the healthy physiological development of

female children when menstrual cycles are stopped before they even begin.4

        61.    There are also potential risks to children and young adolescents who have

differences of sex development (DSD, also referred to by many as intersex) who receive GnRHa

drugs. Such drugs can mask conditions that sometimes are diagnosed only during the pubertal

transition.

        62.    GnRHa are used at times to alleviate symptoms due to physical gynecologic

conditions in female adults, such as endometriosis and uterine myomas. Risks of GnRHa in adult

females include hot flushes, headache, mood changes, vaginal dryness, joint and muscle stiffness,

depression, and bone loss (Speroff & Fritz 2005). These same risks and side effects are present in

a child taking this drug, in addition to other known and unknown risks.

        63.    Adult females using this medication for the aforementioned conditions are limited

to 6 months duration of treatment. Importantly, during treatment with GnRHa adult women are

prescribed either estrogen or progestogen (or both) to “add back” what the GnRHa medication has

caused their body to stop producing physiologically. This “add back” hormone therapy is used to



4
 “It is imperative to communicate with patients and their caregivers the need for the first menstrual
period as an indicator of typical pubertal development.” (ACOG Clinical Consensus No 3 Sept
2022: General Approaches to Medical Management of Menstrual Suppression, pg 536.)


                                                 26
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 28 of 78




prevent cortical bone loss, for instance. The amount of bioavailable estrogen circulating in the

blood is the most consistent predictor of bone density in men and women (Speroff and Fritz 2005,

pg 369). Children receiving GnRHa for gender affirming care at Tanner stage 2 can potentially go

years without receiving any hormonal support during the only time in their lives in which cortical

bone mass would otherwise be maximized during physiologic development. Thus, this group of

children is especially vulnerable to long term deficits in bone health, and knowledge gaps remain

for this cohort (Klink 2015 pg 274).

       64.     While puberty blockers are often described as a “pause” that can be stopped at any

time, in clinical practice, nearly all adolescents (98%) who begin GnRHa as part of gender-

affirming care will go on to be prescribed cross-sex hormones (Carmichael 2021; de Vries 2011;

Biggs 2022).

       65.     This pathway is significant because when the administration of GnRHa arrests

gametes in normal pubertal development at Tanner stage 2, and then high-dose cross-sex

hormones are administered (without a gap between administration of the GnRHa and cross-sex

hormones), then, based on what we know of physiological development, there is no way for the

gametes to ever mature. In other words, if a child begins puberty blockers at Tanner stage 2, as

recommended by WPATH and the Endocrine Society, and then moves on to cross-sex hormones

without a gap in “care,” he or she can risk permanent sterility.

       66.     Authors of several papers have indicated that the GAC regimen when initiated at

Tanner stage 2 of puberty will lead to permanent sterility (Harris 2019; de Nie 2022). Regarding

male children specifically, de Nie states on p. 298: “A complicating factor for contemporary

fertility preservation in transgender female [i.e., natal male] adolescents is the requirement of

complete spermatogenesis, which only develops from Tanner 3 onwards. If puberty suppression




                                                 27
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 29 of 78




is started in Tanner stage 2, full spermatogenesis is usually not present yet and therefore

preservation of spermatozoa is not possible.” (Emphasis added.)

       67.      In females who identify as transgender men, there are isolated reports in the

literature of adults who have carried pregnancies and given birth (Light et al. 2014); however, the

regimen they received is not well known (Moravek et al. 2020). There are no fertility data I am

aware of for females who received GnRHa at Tanner stage 2 of puberty, followed by cross sex

hormones.

              VI.   Effects of Supraphysiologic Doses of Testosterone in Females

       68.      Total testosterone levels in reproductive age females typically range between 20-

80 ng/dL (Speroff and Fritz, 2005). There are medical conditions in which the testosterone levels

are higher than physiologic values. The most common condition of hyperandrogenism is a poorly

understood condition called polycystic ovary syndrome (PCOS) (ACOG Practice Bulletin No.

194, 2018).

       69.      PCOS is a complex disorder characterized by hirsutism/hyperandrogenism, insulin

resistance, and ovulatory dysfunction (most often clinically recognized as irregular periods of

uterine bleeding due to the absence of ovulation, or even amenorrhea (the absence of menstruation,

and infertility)). The etiology of this condition is unknown, and there is no universally accepted

definition. Diagnostic criteria for this condition are not universally agreed upon, leading to varying

reports of prevalence. Approximately 5-20% of the female population may have this condition

(Liu et al. 2020). An elevated testosterone level is not required to make the diagnosis, only clinical

evidence of hyperandrogenism (e.g., male-patterned hair growth, male pattern hair loss, and acne).

The hyperpigmented, velvety appearance of the skin called acanthosis nigricans is due to

hyperinsulinemia but is often seen in patients with androgen excess such as PCOS.




                                                 28
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 30 of 78




        70.     In adult women, PCOS has the potential to cause increased risks of impaired

glucose tolerance, sleep apnea, mood disturbances, depression, increased risk of type 2 diabetes,

dyslipidemia, non-alcoholic fatty liver disease, visceral obesity, cardiovascular disease, and

increased risks for endometrial cancer (ACOG PCOS 2018, Liu et al 2020). The exact pathogenesis

of PCOS has yet to be elucidated.

        71.     PCOS is not typically diagnosed in adolescence due to the immature hypothalamic-

pituitary-gonadal axis and risk for over diagnosis. Administration of puberty blockers to young

female adolescents or children for years, followed by cross-sex hormones, will mask the clinical

diagnosis of PCOS in young females who may be at greater risk of this complex disease. Masking

PCOS has deleterious effects because patients need to be closely medically monitored to avoid

serious risks to their health.5

        72.     It has been postulated that gender incongruence may be elevated in females with

PCOS (Liu et al. 2020) as well as reporting PCOS being more common in female transgender men

(Moravek 2018). If PCOS is in fact more common in females who identify as transgender men,

and these females already possess increased health risks baseline before starting exogenous




5
  It is recommended to avoid diagnosing PCOS in adolescents until at least 2-3 years post menarche
(Goodman 2015 pg 1297). ACOG also encourages caution assigning the diagnosis prematurely
(ACOG Committee Opinion No. 789). Even for female adolescents who use estrogen/progestin-
or progestin-only hormonal management for dysmenorrhea or contraception, it is still a concern
that the hormonal medication could hamper identification of menstrual patterns that, in turn, may
delay potential health concerns for adulthood (although hormonal management has endometrial
protective effects, reducing risk of endometrial hyperplasia and subsequent atypia, which
decreases risk of endometrial cancer). Blocking puberty also poses potential significant risks to
girls with differences in sex development who are not diagnosed until adolescence. The GAC
regimen confers no such beneficial effects to the endometrium and may in fact exacerbate existing
risk factors for endometrial hyperplasia/atypica/cancer with the increased aromatization of
testosterone to estrogen.


                                               29
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 31 of 78




testosterone administration, their health is placed at even greater risk by masking the effects of

PCOS.

        73.    There are other conditions that cause hyperandrogenism in females. Affecting less

than 1-2% of females, these conditions include congenital adrenal hyperplasia, androgen secreting

ovarian or adrenal tumors, acromegaly, and Cushing’s disease (a condition in which an adenoma

called a corticotroph secretes the hormone ACTH which results in an excess of adrenal androgens

and cortisol). The level of testosterone in these severely hyperandrogenic disease states can range

from 100-300 ng/dL or more.

        74.    Excess androgens (including testosterone) in females is a serious risk to the healthy

functioning of physiologic processes within the cardiovascular, endocrine, neurologic, pulmonary,

and reproductive organ systems. Disease states can be caused by endogenous testosterone at levels

orders of magnitude lower than the doses of exogenous testosterone administration in female sex

individuals undergoing gender affirming care. The risks to the female body present within the

conditions of endogenous hyperandrogenism would also be present in the healthy child or

adolescent receiving supraphysiologic doses of exogenous testosterone (such as through gender

affirming care). Numerous studies document that endogenously produced androgens leading to

hyperandrogenism can contribute to significant health risks (Dubey et al. 2021, ACOG Practice

Bulletin No. 194, 2018).

        75.    Gender affirming care suggests doses of exogenous testosterone in the female to

match the normal physiologic male range (typically 320-1000 ng/dL) (ACOG Committee Opinion

823, 2021). These are extremely elevated androgen levels, the likes of which are not usually seen

naturally except in cases of rare androgen-secreting tumors that comprise only about 1% of all




                                                30
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 32 of 78




ovarian tumors. When diagnosed, such tumors are promptly surgically removed so that patients

are not subjected to years of hyperandrogenism, which carries significant health risks.

       76.     Data are just now emerging with regard to the iatrogenic physiologic pathology that

exogenous, supraphysiologic testosterone administration has to bodily function in females. There

is growing evidence that this dose of “maintenance” testosterone therapy increases the risks of

myocardial infarction in females who identify as transgender men compared to females who do

not take exogenous testosterone (Aranda et al. 2021). A new study presented at the American

College of Cardiology’s Annual Scientific Session reported a substantially increased risk of

serious cardiac events, including stroke, heart attack, and pulmonary embolism in individuals with

gender dysphoria receiving GAC with supraphysiologic doses of estrogen or testosterone

(American College of Cardiology News Release 2023). Androgens also appear to induce

unfavorable responses in the female vascular system which can lead to endothelial dysfunction

and mild hypertension; these responses persist as long as the female individual continues to take

exogenous testosterone (Stone & Stachenfeld 2020). Endothelial dysfunction precedes clinically

detectable atherosclerotic plaques, and it is important to be able to monitor this in females who are

taking exogenous testosterone at young ages when their overall risk of cardiovascular events is

still low (Gulanski et al 2020 pg 139). Flow mediated vasodilation in the brachial artery was

monitored in females who were being administered exogenous testosterone at supraphysiologic

female levels in order to affirm physical congruence to the opposite sex; it was found that,

compared to females who did not receive these doses of testosterone, the magnitude of the

vasodilatory response was attenuated in females who identified as transgender men. This study

represents the first time physiological testosterone during testosterone administration for gender

affirmation (a range of total testosterone of physiologic male levels in a female ) impaired




                                                 31
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 33 of 78




endothelial function. This is in direct contrast to the effects that estrogen would have in a young

female, as endogenous estrogen has beneficial effects, promoting vasodilation and endothelial cell

growth and decreasing the development of atherosclerosis. This study directly demonstrates the

detrimental effects of androgens on the female cardiovascular system when administered in such

exogenously elevated doses to achieve levels more common with male sex.

       77.     High triglyceride levels appear to be a stronger predictor of increased cardiac risk

in females compared to males. Non-HDL (total cholesterol minus HDL–or high-density

lipoprotein) and also the ratio of total cholesterol/HDL are predictors of cardiovascular risk in

females (Sallam & Watson 2013). In addition to decreased HDL and increased LDL (low density

lipoprotein), testosterone administration in female transmen increases BMI and hypertension, with

varying effects to triglyceride levels (Velho et al. 2017). All of these risks to the female

cardiovascular system are exacerbated by supraphysiologic testosterone administered during

gender affirming care. Even among studies which claim that testosterone administered in

supraphysiologic doses not increase or exacerbate insulin resistance or markers for cardiovascular

risk, such studies are quite small and use blood tests that are not usually measured to diagnose

insulin resistance (Chan et al 2018); such findings have not been confirmed with larger studies. In

fact, recent emerging data show either elevated cardiovascular risk for individuals who identify as

transgender and who are receiving cross-sex estrogen (males) and testosterone (females) (Schutte

et al 2022, Nota et al 2019) or inconclusive risk (Masumori et al 2023). These data show that it is

too strong to conclude hormones do not “induce risk.”

       78.     The risks of androgen abuse in the form of unmonitored supraphysiologic

testosterone administration in females is well documented and includes depression, infertility, and

mood instability (ACOG Committee Opinion No. 484, reaffirmed 2021). Testosterone is classified




                                                32
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 34 of 78




as a schedule 3 controlled substance, meaning that it is a drug with a moderate to low potential for

physical and psychological dependence (ACOG Committee Opinion No. 484, reaffirmed 2021).

The psychiatric risks of exogenous testosterone administration are well documented in the medical

literature, with higher doses of testosterone associated with hypomanic, manic, or psychotic

symptoms (Moravek 2018 pg 694).

        79.    It has been shown in observational data that there is an increased mortality risk in

transgender people using hormone treatment, regardless of type, over the course of five decades

(de Blok et al. 2021). The study authors admit that “effects of safety of hormone treatments are

scarce, leading to insufficient evidence to determine long-term safety, especially regarding cancer

and hormone-sensitive cancers specifically, as well as cardiovascular disease” (De Blok 2021 pg

664).

        80.    The fertility risks with exogenous supraphysiologic doses of testosterone are not

fully known, and there is an acute lack of data disambiguating patients by ages and stages of

pubertal development when this drug is administered, noting whether GnRHa were administered

prior to treatment, or stating the duration of either or both medications. As one literature reviewer

recently wrote: “Unfortunately, in regards to best practices surrounding fertility treatment and/or

fertility preservation in transgender men, there seem to be more questions than answers from the

available literature… [T]here is a paucity of data directly translatable to the high levels of and

prolonged postpubertal exposure to T that is characteristic of gender-affirming hormone therapy.

As such, the current status quo is to recommend fertility preservation before initiation of T therapy

and, for patients presenting subsequent to T therapy, cessation of T before ovarian stimulation…

More clinical outcome data are also desperately needed, however, to ensure we are providing

appropriate care to this patient population. The long-term goal should be to equip medical




                                                 33
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 35 of 78




providers with the information necessary to provide high-quality data-driven counseling regarding

fertility options for transgender men” (Moravek et al. 2020 pg 13). This is a remarkable statement

because it was written in 2020, years after GAC was widely adopted in the United States without

any long-term data—not even animal studies—to help guide best practices. It highlights the

medical experimentation being conducted on very vulnerable patients.

       81.     Further risks to females who undergo GAC with exogenous testosterone include

gynecologic malignancies such as endometrial cancer and ovarian tumors, as well as breast cancer.

Because prolonged exposure to a hyperandrogenic hormonal environment has been, until the

advent of GAC, extremely rare, published information is limited.6 Most reports are thus case

reports. More concerning is the possibility that females who receive GAC are not getting proper

healthcare while being put at iatrogenic risk of developing malignancies.

       82.     There are concerns that the testosterone used in GAC can increase risk of

endometrial cancer. Testosterone is known to suppress the hypothalamic-pituitary-ovarian axis,

which ultimately prevents estrogen and progesterone synthesis. However, testosterone is also

aromatized (“converted”) to estrogen. Estrogen, if not balanced with progesterone, will increase

the risk of endometrial cancer. A case report of a precancerous lesion of the endometrial lining of

the uterus was diagnosed in a young female transgender man at the time of hysterectomy; this is

extremely rare in a young patient without any medical comorbidities that contribute to unopposed




6
  ACOG claims “most studies demonstrate that endometrium is atrophic secondary to testosterone
use” (ACOG Committee Opinion 823 pg e85) but does not provide any studies demonstrating this
to be true. ACOG Clinical Consensus on Menstrual Suppression on pg 536 cites the CO 823 when
it again claims: “Although there has been concern for endometrial hyperplasia or malignancy due
to aromatization of exogenous testosterone to estrogen with anovulation and therefore chronic
unopposed estrogen, this risk is not supported by data. Most studies demonstrate endometrial
atrophy with the use of exogenous testosterone as part of a gender-affirming protocol” (pg 536).
But this claim does not reference any sources, either.


                                                34
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 36 of 78




estrogen. The patient had been administered supraphysiologic testosterone to achieve the range of

the male sex (O’Connor et al. 2022).

       83.     Testosterone administered exogenously induces changes to the ovarian histology

similar to PCOS, with an increase in androgen receptors possibly leading to the increased risk of

ovarian cancer. Ooophorectomy performed prior to natural menopause also is associated with

increased risks of all-cause mortality, dementia, cardiovascular death (Carbonnel et al. 2021, pg

933). Testosterone used for gender affirming care in this population of females makes it difficult

to disambiguate these risks, as these data are all for females who have not been exposed to long-

term, supraphysiologic doses of exogenous testosterone. Females who identify as transgender

often do not access routine gynecologic care, further risking their health (AOCG Committee On

Health Care for Underserved Women 2021, Opinion 823).

       84.     Testosterone administered as part of the regimen in GAC suppresses estrogen

production, even though it also gets “converted” to estrogen, which makes it extremely challenging

to differentiate the risks to females on this regimen. The decrease in estrogen causes vaginal

epithelial cell growth to slow, and the vaginal epithelium becomes thinner and more fragile. This

can cause irritation, dryness, and atrophy of the vaginal tissue, which can cause significant

discomfort and even bleeding. Critically, estrogen is imperative for the vaginal microenvironment

and subsequent health. Estrogen promotes the production of glycogen by vaginal epithelial cells

which is a preferred substrate of Lactobacillus species of bacteria. Lactobacilli use glycogen to

produce lactic acid, which inhibits growth of pathogens such as sexually transmitted infections

(Neisseria gonorrhoeae, Chlamydia trachomatis) and also bacterial vaginosis. If lactobacilli

colonization is impeded, epithelial maturation of the vagina is impaired, which in turn causes




                                               35
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 37 of 78




increased susceptibility to other infections such as HIV and HPV. HPV infection is common and

is a known risk factor for cervical cancer (Krakowsky et al. 2022).

       85.     There is also concern for increased risk of breast cancer due to the unopposed

estrogen (after aromatization/conversion from supraphysiologic doses of testosterone). One study

reported breast cancer in four females who identify as female to male transsexual, two of whom

were undergoing masculinizing exogenous supraphysiologic testosterone administration. Two

patients developed breast cancer in residual breast tissue 10 years after breasts had been removed

(Trum et al. 2015).

       86.     In another study, a female adolescent who identified as transgender was prescribed

testosterone for under one year and developed a large, borderline malignant ovarian neoplasm,

which is very rare in the adolescent population (Millington et al. 2021).

       87.     To summarize, a growing body of evidence shows females who are administered

supraphysiologic doses of exogenous testosterone under the gender affirming care regimen

develop an iatrogenic disease state of severe hyperandrogenism, the risks of which are still poorly

understood given the duel effects that testosterone has on the female reproductive system (both

suppression of estrogen and also conversion to estrogen). This has significant deleterious effects

on nearly every female organ system including the associations of risk of certain gynecologic

malignancies that are otherwise extremely rare in young, healthy females.

VII.    Fertility Preservation Techniques in Gender-Diverse Children Who Undergo GAC
                            at Tanner Stage 2 Are Experimental

       88.     In both female and male children, fertility-sparing procedures prior to full pubertal

development are nascent and considered to be experimental. Currently these procedures are

predominantly limited to children who suffer from cancer or other physical disease states that are

life threatening and require treatment with chemotherapy, much of which is cytotoxic to gametes.



                                                36
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 38 of 78




Because children with cancer do not have the option of waiting to administer chemotherapy

(because waiting would introduce unacceptable risk), most often fertility preservation procedures

are done in an expedited fashion, very shortly after the child’s cancer diagnosis is confirmed. The

invasive fertility preservation procedures and techniques are the only intervention available to have

a chance of preserving the child’s right to an open future in terms of possibly safeguarding their

fertility (Klipstein 2020).

        89.     Pre- or very early pubertal children and adolescents at Tanner stage 2 generally do

not have the same options for fertility preservation as those who have fully completed natal

pubertal development. The reason for this is that the gametes have not reached maturity if the

female has not undergone menstruation or the male has not undergone spermarche (both occur

typically at Tanner stage 4 of development). As I will outline below, there are significant

limitations with the technological ability to preserve fertility in pre- or early pubertal male and

female children for any indication.

        A.      Fertility Preservation Options for Females

        90.     For females at Tanner stage 2 of puberty, ovarian tissue cryopreservation exists in

theory as an option to preserve fertility, but not in practice for most people (American Society for

Reproductive Medicine 2019). With only 2 recorded cases of live births in the world literature in

females who underwent ovarian tissue cryopreservation (OTC) prior to the onset of mature

gametes (menstruation), this option is extremely limiting in a young female who would otherwise

mature to adulthood and perhaps not require any need for fertility preservation at all.

        91.     The American Society for Reproductive Medicine (ASRM) recently removed the

experimental label for ovarian tissue cryopreservation (OTC) in 2019 in their committee opinion

regarding fertility preservation in patients undergoing gonadotoxic therapy or gonadectomy




                                                 37
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 39 of 78




(American Society for Reproductive Medicine 2019). This document subtly broadened the

indications for fertility preservation outside of those who have medical conditions that are life

threatening, such as malignancy or blood disorders such as thalassemia or sickle cell disease, and

for whom treatments are gonadotoxic. The recommendations were made based on the data that

OTC has demonstrated success in women achieving 130 live births worldwide with this method

as of 2017 (Donnez & Dolmans 3017). The authors acknowledge that the denominator of how

many women have undergone OTC is not known, but they report 29%-33% pregnancy rates and

live birth rates of 23%-25% from individual centers.

       92.     Proponents of safeguarding the pediatric population have appealed that this

technology should be offered only within the context of institutional review board (IRB) approved

research, in order to address the many scientific and clinical questions that are currently unknown

in the pediatric patient population (Rowell et al. 2020; Nahata et al. 2020).

       93.     Currently, most indications for ovarian tissue cryopreservation in females under

age 18 are malignant neurological disease, leukemia, sarcomas, and benign hematological

disorders (Gjeterud et al. 2021). Most often, ovarian tissue is autotransplanted back into the female

patient (Ainsworth et al. 2020) once treatment for the offending condition has been completed and

the female has decided she would like to pursue childbearing (provided that the transplanted

ovarian tissue is not going to further risk re-introduction of malignancy) (ASRM 2019). It is noted

that benign disorders in females under 18 years of age which require treatment with gonadectomy

or gonadotoxic agents comprise a growing indication for ovarian tissue cryopreservation in this

age group (Gjeterud et al. 2020). However, as the ASRM notes: “efficacy, safety, and reproductive

outcomes after ovarian tissue cryopreservation are still limited,” and OTC should be offered only




                                                 38
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 40 of 78




by centers with the necessary laboratory and surgical expertise in carefully selected patients

(ASRM 2019, p. 1025).

       94.     Successful live births in adult females who underwent OTC during pre-menarche

(childhood or early puberty) are extremely low—based on the reported cases in the literature,

fewer than three individual patients in the whole world. There have been two pre-menarche

female children who had ovarian tissue cryopreserved and subsequently auto-transplanted as adults

who were able to have spontaneous pregnancies and live births. The first was reported in 2015 of

a pre-menarche child who underwent OTC at age 13 years in order to prepare for treatment of

sickle cell anemia (Demeestere et al. 2015); the other was reported in 2018 of a 9 year old child

who underwent OTC prior to treatment for B-thalassemia (Matthews et al. 2018). A third

adolescent who had OTC performed at age 14 later had a live birth, and another ongoing

pregnancy, but it was not reported if she had already had menstruation at the time of OTC

(Rodriguez-Wallberg et al. 2021).

       95.     A systematic review found 16 studies with data specific to pediatric patients who

had undergone fertility preservation for gonadotoxic cancer treatments (Corkum et al. 2019). The

reviewers found that of 298 patients who underwent OTC under the age of 13 (which generally

indicates pre-pubertal/pre-menarchal status), just 3 underwent surgery later on in adulthood to

autotransplant their ovarian tissue (Corkum et al. 2019). The total number of females aged 0-20

who underwent ovarian tissue cryopreservation numbered 1019 individuals. Eighteen of these

patients had ovarian tissue auto-transplanted back into the peritoneal cavity or within the remaining

ovary. The median age of the patients who underwent OTC between 0-20 years who then

subsequently had surgery to undergo autotransplantation was 19 years. The age at which the

ovarian tissue was autotransplanted back into the patient was 24 years. The ovarian tissue grafts




                                                 39
     Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 41 of 78




were found to be functional up to 7 years after autotransplantation of graft placement. One patient

who underwent OTC prior to menarche was able to achieve a live birth; the other live births were

in females who had OTC performed after menarche but under 20 years of age. Thus, in all, of the

1019 patients who underwent OTC between 0-20 years of age, just 18 of the patients underwent

surgery to autotransplant the ovarian tissue back into the peritoneal cavity; and of these 18, just 3

were pre-pubertal at the time of OTC. Among these patients who had OTC under age 13, and who

then subsequently underwent autotransplantation of cryopreserved ovarian tissue in adulthood,

just one achieved a live birth.7 The technique for OTC in this age group is not standardized and

there is significant heterogeneity of both the cryopreservation and transplantation processes

(Corkum et al. 2019). The authors caution: “The success of autotransplantation in women who

were children at the time of OTC may take decades to be fully understood. In addition, while a

few institutions did mention unsuccessful transplantations in girls 20 years of age and younger at

the time of OTC, there is a risk of reporting bias toward publication of only cases in which fertility

and hormone restoration was achieved” (Ibid, pg 2207). That is, the true denominator of how often

OTC is performed in pre-pubertal female children may be unknown, and thus success rates of

achieving a live birth over-estimated, because only successful outcomes get reported rather than

all who attempt OTC as an attempt to preserve fertility. This kind of reporting bias confounds the

reported success of this procedure. The review cautions that the efficacy of fertility restoration in

patients who are prepubertal at the time of OTC cannot be determined at this time (Ibid).

           96.      The technology of oocyte in vitro maturation (IVM) has also been used as a fertility

preservation technique in women. Recorded live births from IVM technology are extremely low,




7
    This is the patient reported in Matthews et al 2018 who was 9 years old at the time of OTC.


                                                           40
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 42 of 78




and there are significant challenges for utilizing the technique in pre-pubertal or early pubertal

female children who have not yet undergone menarche.

       97.     IVM techniques have been used for decades and used in breeding programs for

animal husbandry. The ability of the technology to be used in humans was not developed, as oocyte

maturation with controlled ovarian stimulation protocols (COS) were being generated

simultaneously. As such, with greater utilization and investment in medical and laboratory

infrastructure to develop COS technologies, the successful live birth rates kept improving with this

method; COS is now the overwhelming technological modality used to overcome barriers to

achieving fertility for individuals who have completed pubertal transition, but cannot be used in

pre-pubertal or early pubertal children/adolescents.

       98.     Because IVM can be theoretically accomplished without female pubertal

maturation, there has been some investigation using ovarian tissue from pre or very early pubertal

females for fertility preservation in children who have cancer, as this avoids the transfer of the

preserved ovarian tissue back into the female when she grows into adulthood (Gilchrist & Smitz

2023). The reason for this approach is to avoid the risk of possible malignancy being reintroduced

into the patient if ovarian tissue cryopreservation was performed for an oncological (cancer)

diagnosis. Instead of re-transplanting the cryopreserved ovarian tissue back into the patient and

allowing the physiologic maturation of the oocytes in the body (as described earlier in this report),

the process of IVM takes the cryopreserved ovarian tissue and matures the oocytes outside of the

female body (“ex-vivo”). The rationale for this is to completely eliminate the risk of potentially

re-introducing malignancy when the OTC is used to preserve the fertility in females with a cancer

diagnosis. With IVM, when the female is an adult and decides she would like to pursue pregnancy,

the oocytes obtained from the OTC process are fertilized by a technique called intracytoplasmic




                                                 41
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 43 of 78




sperm injection (ICSI). If a blastocyst develops from this method, it is then transplanted into the

patient’s uterus.

       99.     The IVM technology has resulted in a wide range of maturation rates of cumulus

oophorus complexes, with overall maturation rates of 39% +/- 23% (Segers et al 2020). Recall that

the follicular cells surrounding the primary oocyte are essential to the maturation of the primary

oocyte into the dominant follicle capable of being ovulated, and this process of follicular

maturation only occurs at the pubertal transition in response to LH/FSH. In the IVM process, this

step does not occur because the ovarian tissue cryopreserved during childhood is not re-

transplanted back into the female patient from whence it came. Instead, the primary oocytes within

the ovarian tissue are matured outside of the female body using a variety of protocols to accomplish

this process, with varying degrees of success (as described above).

       100.     To date, the youngest child from whom mature oocytes have been obtained after

IVM was aged 5 years (Segers et al 2015 pg 1228), with a maturation rate in 6 pre-pubertal girls

of 18% (Segers et al. 2015 pg 1223, 1228) to 22% (Segers et al 2020, pg 2028). It is very important

to realize that maturation rates do not guarantee a live birth will result from this process. As of

2021, there have been only 5 live births from embryos generated from fertilization of oocytes

matured “in vitro”; 5 live births from over 500 patients in total who had in vitro maturation from

oocytes retrieved from ovarian tissue; all were adults at the time of ovarian tissue retrieved and

then matured “in vitro” (De Roo 2021, Tables 1 and 2). Crucially, compared to adult ovarian tissue,

the ovarian tissue from premenarchal children appears to contain a relatively larger population of

abnormal follicles, and follicle development and oocyte growth in culture has been shown to be

compromised; because of this, it is hypothesized that the prepubertal ovary needs a “maturation

phase” in childhood to gain optimal follicle function as an adult (Segers 2015 pg 1228).




                                                42
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 44 of 78




Concerningly, it is possible that the oocytes harvested from ovarian tissue of pre-menarche

children might lack the capacity to resume meiosis (Ibid). There have been no live births from

the IVM from ovarian tissue obtained in premenarchal female children, and no live births from

transgender men (natal females) who had been on testosterone prior to gender affirming

bilateral oophorectomy (De Roo 2021 Table 1). Because of the low maturation rates and

concomitant viable pregnancies, even in adults, the fertility potential of IVM is still under

evaluation (Choi 2022, pg 6), as fertilization and embryological developmental capacities seem to

be impaired (De Roo 2021, pg 6).8

         101.   In summary, the live birth rate for female adults who underwent OTC and IVM

technologies as a means to preserve fertility during pre pubertal/early pubertal (premenarchal)

development are extremely low: 3 live births for the use of OTC, and 0 for the use of IVM

(Demeestere et al. 2015, Segers et al. 2015, 2020; Matthews et al. 2018; Rodriguez-Wallberg

2021). There are also 0 live births in adult transgender men (natal females) who have utilized

these technologies whilst receiving testosterone for gender affirming care (De Roo 2021, Stolk

2023).

         102.   Such data are in stark contrast to the cumulative live birth rate for controlled ovarian

stimulation (COS) followed by in vitro fertilization (IVF). Recall that COS is performed in settings

also where there are no contraindications to these procedures as no intrinsic pathological process

occurs within the body, much like gender dysphoria. The key is that the technology can be utilized



8
  IVM is, however, one of the only ways to avoid reintroduction of malignancy in females who
suffer from cancer and undergo fertility preservation, since it removes the requirement of auto-
transplantation. For females who identify as transgender, it also offers a way to avoid ovarian
tissue autologous transplantation, or endogenous gonadotropin stimulation and oocyte retrieval
with subsequent oocyte cryopreservation, but again, this process is experimental (Stolk & Asseler
2023) and the use of IVM in female transgender men has not been successful in generating a live
birth (Ibid pg 33).


                                                  43
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 45 of 78




only once puberty has advanced to the level of endogenous gamete maturation (Tanner 4 or 5).

One study noted the live birth rate above 24 weeks gestation in over 14,000 patients can be up to

70% with >25 oocytes retrieved after controlled ovarian stimulation (Polyzos et al. 2018).

Critically, these data also note the increased risks to females with this approach, such as ovarian

hyperstimulation syndrome.

       103.    There are limitations in interpreting success of assisted reproductive technologies

since protocols, patient selection criteria, and methods used rates vary widely between centers. It

is important to keep in mind that the use of assisted reproductive technology in females carries

risks compared to those who do not require these technologies to conceive (ACOG Committee

Opinion No. 671, reaffirmed 2020).

   B. Fertility Preservation Options for Males

       104.    In males, fertility preservation options are only experimental before the gametes

are mature. Currently there is no way to “mature” an immature germ cell/spermatogonia. These

immature germ cells/spermatogonia are cells in the male testes present at Tanner stage 2 of very

early pubertal development. Recall from earlier in this report that males are born with immature

gametes which have not yet entered the cellular division stage of meiosis. Physiologic puberty in

males where the gametes undergo the process of maturation is called spermarche and occurs at

Tanner stage 4. The process can only occur if LH and FSH are able to act at the level of the Leydig

and Sertoli cells at puberty, to sustain the developing sperm cells from their immature diploid form

to the haploid mature spermatozoa.

       105.    If this action of LH and FSH is “blocked” before the natural pulsatile release of

GnRH in natal puberty ever occurs, followed in succession by exogenous estrogen administered

in supraphysiologic doses (without a “break” in this process), it is unknown if spermatogenesis




                                                44
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 46 of 78




could ever develop; there are no data of this ever occurring because there are no fertility outcome

studies for male children who ever underwent this regimen at Tanner stage 2. There is a report of

spermatocytes retrieved from an adult male matured in vitro, but these spermatocytes had already

started the process of meiosis when they were further matured in vitro, resulting in one live birth

(Tesarik et al. 1999). This is very different from a pre-pubertal or early pubertal male who does

not have any spermatocytes, only germ cells.

       106.    Consequently, for pre- or early pubertal male patients, testicular cryopreservation

in this age group as a way to preserve fertility remains investigational and is done only in clinical

trials (Rowell et al. 2020; Nahata et al. 2020, Klipstein 2020). The technology relies on the ability

to generate mature spermatozoa from pre-meiotic diploid spermatogonia, which is experimental.

Current knowledge of this technique is limited to animal studies (Delessard et al. 2020, Ibtisham

et al. 2017, Wang et al. 2020, Ibtisham et al. 2020). Progress within this field is slow, with an

immense amount of work to be done regarding fertility preservation for boys and adolescents

(Ntemou et al 2019, pg 2); there is no report of any of the proposed experimental approaches (both

in vitro and in vivo) resulting in spermatozoa generation from human immature testicular tissue

cryopreservation (Ibid, pg 8)

       107.    Testicular tissue cryopreservation in male children is conceptually very similar to

ovarian tissue cryopreservation in female children. For example, in the case of pediatric cancer, a

testicular biopsy is obtained and cryopreserved, and the immature cryopreserved spermatogonia

can be placed back into the testes once treatment has completed. This process, however, has the

risk of reintroducing malignant cells. It also has not been successful in generating mature

spermatozoa or live births once adulthood is reached. There are ongoing trials investigating this

process (Clinicaltrials.gov).




                                                 45
    Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 47 of 78




       108.    Testicular cryopreservation may not be possible in males who undergo GAC

because of the changes to the testes caused by prolonged GnRHa, testosterone blockers, and

estrogen administration (de Nie 2022).

       109.    There are some data that show the possibility of autotransplantation to an

ectopically located site away from the testes, as well as methods to mature the immature

spermatogonia “in vitro” by trying to “match” the internal conditions of puberty during the time

when this would normally occur. All such methods are experimental (Wang et al. 2022; Ibtisham

& Honoramooz 2020; Stolk & Asselar 2023).9

       110.    There have been no live births from testicular cryopreservation performed during

pre- or early pubertal male development, since there is not currently the ability to mature

spermatogonia from these specimens in humans. There has been a live birth after an oocyte was

fertilized with mature sperm retrieved from an adult male who underwent in vitro spermatogenesis,

but this occurred after meiosis had already started, up to the level of the pachystene stage of meiosis

1; the male had already completed puberty (Tesarik et al. 1999).

       111.    In sum, testicular cryopreservation as a method to preserve fertility in pre-pubertal

or early pubertal children is still experimental. Maturation of immature spermatogonia/germ cells

has not been demonstrated in humans.




9
   There is a method to mature spermatogonia in the testes of a different species called
xenotransplantation. This technique injects the spermatogonia germ cells of one species into the
testes of another species where they mature in the seminiferous tubules of that species (Wang et
al., 2022). To date the only ability to generate mature spermatozoa from human immature
spermatogonia in vitro has been shown in one ethically fraught study from China where male fetal
germ cells were matured from the fetal testes of an aborted male fetus (Yuan et al. 2020, pg. 244-
45).


                                                  46
     Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 48 of 78




     C. Fertility Preservation is Unrealistic at Tanner Stage 2

        112.   Although risk of infertility is nearly certain for children who initiate GAC at Tanner

stage 2 and there are no known ways to reliably preserve fertility at this stage, there are more data

for fertility preservation after gametes mature in the later stages of puberty/adulthood.

        113.   Assisted reproductive options, including fertility preservation, after pubertal

transition for both males and females, are well-documented, and consist of (1) spermatozoa

cryopreservation for adult male patients, (2) use of conventional “IVF” technologies (generation

of cumulus oophorus complexes using “in vivo” maturation of the oocyte in the female post-

pubertal adult), and (3) OTC/IVM in adult female patients. The first two modalities are more

accessible within the existing clinical infrastructure and have documented success rates for live

births depending on the methods used (up to 70% one multicenter analysis) (Polyzos et al. 2018).

As discussed, OTC/IVM are still relatively new; however live births have been achieved in adult

females utilizing these technologies if they do not have any other options to help them achieve

their reproductive goals.10 Even so, it is crucial to acknowledge there are still risks to assisted

reproductive technologies and centers have varying degrees of success. There are also higher




10
   The ASRM reports live births reported around the world after OTC was used for post-pubertal
adults, with 130 live births for this method reported thus far. The live births for IVM, as discussed,
have occurred in adult patients only, with a total of 5 live births reported thus far worldwide using
this technique. As discussed extensively, these are very different populations compared to
premenarchal female children. For patients without any other options to preserve fertility, such as
those who have a childhood diagnosis of cancer and cannot wait for gonadotoxic treatment
initiation due to undue risks this poses to their lives, OTC in female children and testicular tissue
cryopreservation in male children are techniques which can and should be utilized ethically.
However, for early pubertal children who do not have a physical locus of malignancy threatening
their survival, it is not medically necessary to utilize these nascent technologies for which live
birth outcomes are either non-existent or extremely rare. Once natal pubertal transition has
occurred, these young people can make further fertility preservation decisions which have a much
higher success rate and are more accessible later in adolescence or adulthood, if need be.


                                                 47
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 49 of 78




perinatal risks to females who undergo assisted reproductive technologies which need to be taken

into consideration as well.

       114.    Encouraged to delay GAC until after puberty, young people also may decide they

are more comfortable in their natal sex, do not want any medicalization, and still identify as

transgender.

       115.    Data show that one of the primary reasons young people do not utilize fertility

preserving measures is because they do not want to delay the hormonal GAC regimen (Harris 2019

pg 2454; Stolk & Asseler 2023 pg 30; Robinson 2023 pg 10). Increasing the age where one can

receive hormonal GAC regimen would thus provide more time for young people to complete

puberty and increase their access to well tested, more successful, and accessible fertility

preservation technology should they need to do so.

       116.    In summary, fertility preservation technology at Tanner stage 2, when gametes are

not mature, is nascent, inaccessible, and experimental. In contrast, assisted reproductive

technologies for those who have completed puberty are more widely accessible with much higher

success rates in achieving a live birth. The evidence base for medicalizing a child’s gender identity

at Tanner stage 2 is insufficient and low quality, with purported benefits not shown to outweigh

the harms of the loss of functional physiologic bodily capacity (Abbruzzese 2022; Levine 2023;

D’Angelo 2019; Block 2023; Biggs Sept. 2022). There is no indication, therefore, for gender

identity to be medicalized through transitioning treatments when Tanner stage 2 of puberty is

reached. Requiring young people to wait until adulthood to pursue transitioning treatments will

allow young people who identify as transgender to realize their fertility goals without risks of

iatrogenic infertility caused by gender affirming care administered too soon, and may mean they

never need to access assisted reproductive technologies.




                                                 48
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 50 of 78




   D. Fertility Preservation Counseling for Youth Receiving GAC is Inadequate

       117.    Unfortunately, despite the risks, studies have shown that discussions about fertility

preservation with children and young adolescents with gender dysphoria are limited (Choi & Kim

2022). The hazards to reproductive function and fertility related outcomes of medicalized GAC

limits the ability to effectively counsel patients, and there are no guidelines regarding fertility

preservation for transgender individuals (Ibid.). Despite data showing that interest in future

parenting is high among adult individuals who identify as transgender (Ainsworth et al. 2020), and

that quality of life is noted to be significantly higher for transgender-identifying adults who have

children (Choi & Kim 2022), data for pre or early pubertal children remain understudied, with up

to one third indicating their feelings about parenthood may change in the future (Schwartz &

Moravek 2021).

       118.    For adolescents who identify as transgender, data are quite mixed regarding fertility

preservation counseling and fertility preservation techniques utilized. While one review of the

literature found that up to 88-100% of adolescents in the included studies received fertility

preservation counseling, the exact counseling rendered was not described, nor were validated tools

identified for such counseling. Indeed, the authors note: “[T]he main limitation of this systematic

review is the low quality body of evidence presented… [S]tudies … were cross sectional

questionnaires, case series, or small sample size cohort studies with limited follow up time and

lack of control groups; however, it is the best available data at this time” (Stolk and Asseler 2023

pg 35). Another study revealed a very low rate of just 13.5% of adolescents reporting they had

received fertility preservation counseling (Stolk et al. 2023 Table 3), with another reporting up to

100% of fertility preservation counseling (Ibid). As for actual use of fertility preservation options,

the rate ranged from 0% to 62%. This top value is an outlier and only applied to males who had




                                                 49
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 51 of 78




already reached spermarche; the majority of studies reported fertility utilization of <10%, with

more males utilizing these technologies than females. And it is important to note that the mean age

of these adolescents in all studies were all after the ages at which spermarche and menarche

typically occur (Stolk and Asseler 2023 table 3). Most data consistently show that less than 5% of

adolescents underwent fertility preservation procedures with gamete cryopreservation (Pang et al

2020, Choi & Kim 2022, Stolk and Asseler 2023). The ASRM, Endocrine Society, and WPATH

all recommend fertility preservation counseling prior to initiation of GAC, but studies have raised

concern that this standard is not being met despite growing evidence that gender affirming regimen

has a detrimental impact on the potential for future fertility (Ibid.).

        119.    It is unknown how many pre- or early-pubertal children with gender dysphoria

undergo counseling for fertility preservation prior to administration of GnRHa followed by cross

sex hormones. There remain significant gaps and low utilization in the counseling and education

surrounding fertility preservation for children and young adolescents at Tanner stage 2 of pubertal

development in whom medicalized GAC has and is currently being offered for several years. In

the United States, the first gender clinic was opened in 2007, yet we still do not have any data to

help elucidate these phenomena aside from the limited reports I have just described.

        120.    In summary, inadequate fertility-preservation counseling calls into question the

completeness of the informed consent process for the GAC regimen in Tanner stage 2 children and

young adolescents. The only “fertility preservation” techniques for which long term data exist are

those for individuals who have already matured through the pubertal transition and who have

mature gametes. Thus, accurate representation of the evidence regarding fertility preservation in

individuals who identify as transgender compels delay in endocrine interventions until after

pubertal maturation of the gametes has occurred—that is, until much later in adolescence/early




                                                  50
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 52 of 78




adulthood. As mentioned earlier in the report, those seeking reversals of permanent sterilization

even when they had undergone these procedures between the ages of 18-24 years of age is over

40% even in adults. And it is well established that even adults under age 30 have increased rates

of sterilization regret compared to those older than age 30, even when they have had their own

children. It is in the best interest of the child to reduce this risk of sterilization regret by delaying

any hormonal manipulation of healthy physiologic function until at least 19 years of age. The delay

in such hormonal manipulation will allow preservation of a child’s open future in which adult

reproductive goals are preserved.

                              VIII. Response to Plaintiffs’ Experts

        121.    I have reviewed the opening expert reports of Dr. Armand Antommaria, Dr. Daniel

Shumer, Dr. Meredithe McNamara, Dr. Aron Janssen, and Dr. Morissa Ladinsky.

        122.    Dr. Shumer claims on page 6 of his report that “sex is comprised of several

components, including, among others…gender identity.” He then states on page 7 that “everyone

has a gender identity.” But gender is a social concept; it has no locus on the physical body

(Schwartz 2021, Biggs 2022) and therefore has nothing to do with the objective locus of sex. The

physiologic function of sex is to reproduce the species; in mammals, this occurs by the internal

fertilization of an ovum by a spermatozoan. The function of sex is binary.

        123.    Dr. Shumer also states that gender identity “is an internal and largely biological

phenomenon” but it is also “understood” and “may evolve.” It is unclear what he means by “largely

biological phenomenon.” Biological phenomena are tangible, immutable (Dorland’s 29th ed). For

example, it is a biological phenomenon that only female-sexed individuals can gestate. There is no

objective measure of gender identity.




                                                   51
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 53 of 78




        124.   Dr. Shumer claims that attempts to “force” someone with gender identity to “align”

with their “birth sex” is harmful. He does not describe what this means, but seems to assert that

the actual physical, biological processes of healthy human physiological development, including

sexual maturation and puberty, are somehow unhealthy and must be externally “forced.” What is

forced is trying to provide the facsimile of an opposite sex by administration of supraphysiologic

doses of either testosterone in females, or estrogen in males, in an attempt to appropriate the

appearance of the opposite sex. Only the medical establishment can force this kind of bodily

modification; it is not physiologic.

        125.   On page 15 of his report, Dr. Shumer states that “GnRHa have no long-term

implications on fertility.” As demonstrated above, this statement is decidedly not true when

GnRHa are begun at Tanner stage 2 of puberty and followed without pause by cross-sex hormones,

as WPATH and the Endocrine Society recommend. Dr. Shumer may be referring to the use of

GnRHa in children with central precocious puberty (CPP), but those patients undergo natural

puberty at the natural time—unlike patients receiving puberty blockers as part of gender affirming

care.

        126.   Dr. Shumer cites the PREFER study to support his claim that GnRHa have been

“proven” to “not have long-term implications on fertility.” The study actually showed there were

insufficient data at the primary endpoint of the study to make firm conclusions regarding the

proportion of women desiring a pregnancy but who did not achieve pregnancy 6 and 12 months

after stopping all contraceptive methods (Martinerie et al. 2020, pg 536). In other words, these are

women who desired pregnancy but did not yet achieve it—the key question the study was meant

to address. It is reassuring that pregnancy can be achieved after GnRHa administration for CPP in

females, but even the study authors state that the results need to be consolidated with a subsequent




                                                52
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 54 of 78




study to assess fertility and infertility rates when women will have reached their mid-thirties (Ibid

pg 536). In males, limited data exist on reproductive function after treatment for CPP with GnRHa;

data on paternity rates and fertility are not available (Bangalore-Krishna 2019, pg 364). Therefore,

Dr. Shumer’s statement that “GnRHa have no long-term implications on fertility” is too strong

even when confined to GnRHa used to treat central precocious puberty.

       127.    Dr. Shumer asserts that GnRHa are used at the onset of puberty (Tanner 2) until

mid-adolescence and that “the decision to continue treatment will be continually evaluated.”

“Should pubertal suppression no longer be desired,” he states, “GnRHA would be discontinued,

and puberty would re-commence.” This statement has not been proven because the only data we

have are for children who were placed on this medication for CPP, not normally timed puberty.

An international consortium continues to lament the lack of long-term outcome studies, especially

to address concerns regarding impacts on bone mineral density and infertility when used in patients

who identify as transgender (Bangalore Krishna 2019).

       128.    Dr. Shumer states on page 20: “Adolescents diagnosed with gender dysphoria who

have entered puberty (Tanner Stage 2) may be prescribed puberty-delaying medications.” This is

misleading. Tanner Stage 2 occurs on average at age 10 in female children and 11 in male children,

but the normal range is 2 standard deviations from those ages. Thus, in females Tanner stage 2 of

puberty can occur at age 8 in normally timed puberty, and for males, at age 9. The normal

distribution of ages in Tanner stage 2 of puberty are 8-13 for female children and 9-14 in male

children. By use of the term “adolescence” the reader unaccustomed to what “Tanner stage 2”

means may be led to believe that GnRHa are only given to adolescents, but that is not true. They

are also given to children, which the AAP defines as up to 12 years of age (AAP Policy Statement,

Age Limit of Pediatrics 2017).




                                                 53
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 55 of 78




       129.    Another key detail omitted by Dr. Shumer is that once GnHRa are given for a time,

especially at Tanner stage 2 when gamete maturation has not yet occurred, GnRHa will prevent

the maturation of primary oocytes and spermatogonia and may preclude gamete maturation

(Bangalore Krishna et al. 2019, pg 365). If gametes cannot mature, administration of

supraphysiologic doses of hormones to match those of the opposite sex has the risk of damaging

immature gametes, and there is a high likelihood for permanent sterility, especially in males (Stolk

& Asseler 2023; de Nie 2022). Dr. Shumer admits this fact later, on page 22 of his expert report:

“While GnRHa themselves do not have long-term implications on fertility, it is necessary for a

person to complete puberty to produce viable eggs or sperm.” (Emphasis added). Yet he does not

connect the dots. Since GnRHa drugs are used precisely to block natal pubertal transition, and

viable gametes can only occur with pubertal transition, if pubertal transition is blocked by the GAC

regimen, with puberty blockers at Tanner 2 followed by cross sex hormones, the gametes cannot

mature, and therefore the risk of sterility is very high. Even WPATH SOC 8 acknowledges this

concern and recommends fertility preservation before initiation of GnRHa therapy (WPATH 2022

section 12.10, 16.3). Dr. Shumer says it again on pages 24-25 of his report: “Progression through

natal puberty is required for maturation of egg or sperm. If attempting fertility after previous

treatment with GnRHa followed by hormone therapy is desired, an adult patient would withdraw

from hormones and allow pubertal progression. Assistive reproductive technologies could be

employed if needed.” (Emphasis mine). He then cites a 2013 source that does not address early

pubertal adolescents at all and refers to “transexual persons” who are adults—i.e., who by

definition passed through puberty and whose gametes are already mature (T’Sjoen 2013). An adult

patient who has not been administered puberty blockers followed by cross sex hormones beginning




                                                54
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 56 of 78




at Tanner stage 2 of early puberty is not the same patient as a young person who has been subjected

to this regimen.

       130.    I have discussed fertility preservation in detail earlier in this report. Fertility options

in male children at Tanner 2 puberty blockade can be performed only if testicular cryopreservation

is undertaken prior to starting the hormonal GAC regimen. The techniques for trying to mature

spermatogonia from the testes of early pubertal male adolescents are still experimental and are not

well studied in humans (except as proof of concept in animal studies), but there is no way to know

if sperm matured this way (i.e., in vitro spermatogenesis) will be able to fertilize an ovum or if a

live birth would result in humans. There has never been a live birth using sperm from a male who

was administered GAC at Tanner stage 2, and there are no current data by which these young

patients and their families can be assured their fertility and reproductive goals will ever be possible.

The technology to mature spermatogonia in vitro and clinical infrastructure for this to occur in

Tanner stage 2 males simply does not exist on a clinically relevant scale.

       131.    For female early pubertal children and young adolescents at Tanner stage 2, the

“option” for fertility preservation is ovarian tissue cryopreservation as discussed earlier. There

have been two patients who had live births after ovarian tissue was cryopreserved prior to

menarche, and autotransplanted. A third patient had a live birth from ovarian tissue cryopreserved

but the report did not describe whether or not menses had already started at the time of ovarian

tissue cryopreservation. There are no data that a female young person who was administered

GnRHa at Tanner stage 2 followed directly in succession by testosterone (the regimen of “gender

affirming care”) has ever had a live birth in adulthood. “There are no long term follow up studies

studying the effect of puberty suppression and testosterone on gonadal function and gametes”

(Stolk et al 2023, pg 3). The only reproductive outcomes data exist for post-pubertal females who




                                                  55
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 57 of 78




have taken testosterone alone, or GnRHa alone, each for a limited time period, not in direct

succession. As discussed in this report, these are very different patient populations.

       132.    At Tanner stage 2, male gametes are immature spermatogonia. If gametes are

“blocked” prior to the meiotic division of spermatogonia, not only will maturation halt, but also

because GnRHa has blocked LH, the Leydig cells of the testes will not be capable of testosterone

production. Since testosterone is inhibited, conversion to dihydrotestosterone (DHT) will not

occur, preventing the physical maturation of the penis and scrotum. There are no data to show that

males can regain this growth after pubertal blockade followed by exogenous supraphysiologic

doses of estrogen. Estrogen in males will lead to hypospermatogenesis and eventually

azoospermia, which will become irreversible after some time, as noted by the reference that Dr.

Shumer used in his expert report. (T’Sjoen et al. 2013, pg 577). The peno-scrotal hypoplasia that

develops from the GAC regimen initiated at Tanner stage 2 has significant ramifications if the

male chooses, in adulthood, to undergo penectomy with penile inversion vaginoplasty. Peno-

scrotal hypoplasia (an arrest in the growth of the male external genitalia from the time GnRHa

were administered) is reported in the surgical literature to contribute to significant complications

for these young patients and also increase the surgical risks, including bowel surgeries adding to

the overall complications and surgical morbidity (Robinson et al 2023).

       133.    Dr. Shumer fails to discuss the key distinction between early pubertal children and

young adolescents still at Tanner stage 2, on the one hand, and adults who have already gone

through natal puberty, on the other. As mentioned earlier in this report, there are case reports of

adult females who had been on testosterone for a period of time, stopped it, and then became

pregnant (Light et al. 2014; Besse 2020). This is not the same patient population as an early

pubertal child or young adolescent who received GnRHa before their gametes were even mature.




                                                 56
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 58 of 78




Ample data exist regarding fertility preservation options for adults as I have mentioned earlier in

this report. Children who have puberty blocked and who are thus excluded from gamete maturation

do not have these same fertility preserving options and warrant special consideration.

       134.    Dr. Shumer states that a young person exposed to GAC at Tanner 2 could, as an

adult, “withdraw from hormones and allow pubertal progression.” There are no data that this has

ever occurred for a young person exposed to GAC beginning at Tanner stage 2. In fact, emerging

data show that stopping gender affirming hormone treatment prior to orchiectomy did not affect

possibilities for fertility preservation, since it is unknown if spermatogenesis can recover if gender

affirming hormone treatment is stopped and how much time is needed for this purpose (de Nie

2021 pg 305). This may be why WPATH, ASRM, and the Endocrine Society recommend that

fertility preservation options be discussed before transition (Coleman et al 2022, ASRM 2019, de

Nie 2022, Ainsworth 2020). Dr. Shumer’s lack of precision about the nature and timing of

“hormones” obfuscates the fine details and differences in the risks of irreversible sterilization

based on when natal puberty is blocked, which I have discussed at length.

       135.    Plaintiffs’ expert Dr. McNamara further obscures the experimental nature of

fertility preservation in pre-pubertal or very early pubertal males before any maturation of the

spermatogonia. On pg. 15 of her report she states: “In a cohort of patients treated with puberty

blockers starting at the onset of pubertal development (Tanner stages 2 and 3) and adding estrogen

treatment starting at 16 years of age, histological examination of testicles showed normal

appearing, immature sperm producing cells in the testes, suggesting those individuals had retained

fertility potential” (emphasis added). Dr. McNamara’s source for this statement shows that indeed,

0% of males who had puberty blocked at Tanner stage 2-3, followed by estrogen at

supraphysiologic doses, had any functioning mature spermatozoa in the testes at the time of




                                                 57
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 59 of 78




orchiectomy. All the spermatozoa were immature. Immature spermatogonia, which, as I explained

at length in this report, and which is also reported in this very study (de Nie 2021 pg 299), cannot

yet mature to spermatozoa “in vitro” or via germ cell transplantation (Klipstein et al. 2020 pg 5);

functionally and practically, this renders the ability to actually preserve male children’s fertility

who undergo GAC at Tanner 2 impossible at this time, both pre- and post- GAC.

       136.    It is misleading for Dr. McNamara, or any physician counseling young male

patients and their families about fertility preservation at Tanner stage 2, to declare that these data

show it is “possible to preserve fertility.” In doing so, she and other physicians obfuscate the reality

of the limits of technological capacity of spermatogenesis (in vitro or via germ cell transplantation)

and its purely experimental nature in humans. Discussion of “fertility preservation” when we do

not have the actual capacity to deliver on any kind of male fertility preservation for those patients

who undergo GAC at Tanner stage 2 of pubertal development is to discuss an experiment, one

which at present is neither regulated nor closely or universally monitored. It is an experiment that

has never been proven successful in humans and may never be. The only data that can be conveyed

are the data that show banking of mature sperm. But mature sperm can be generated only if a male

child is allowed to undergo endogenous puberty, which GAC prevents. This is why, in order to

preserve an open future for a gender non-conforming young person to actualize their reproductive

goals in the future, it is imperative to limit any gender affirming endocrine intervention until much

later in adolescence, ideally over age 18, given the high rates of regret for sterilization procedures

in young adults who have already had children. It is likely to be much higher for those who were

sterilized as minors, before any fertility goals could ever be realized.




                                                  58
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 60 of 78




        137.    Children who have not even started puberty, or who are at the very earliest stages

of puberty, do not have the emotional or intellectual capacity to be able to assent to a medicalized

regimen that will cause them to lose functional bodily capacity to reproduce.

        138.    Hormonal interventions under the euphemism of gender affirming care are

especially ethically compromised when one considers that the children to whom the regimen is

recommended do not have any physical disease; the intervention itself creates the physiologic

disease state for which the child will be dependent on the medical profession for the rest of their

lives. This is the creation of iatrogenic disease in healthy children and adolescents which carries

significant medical risks to numerous physiologic organ system functioning which are life-long.

        139.    Dr. Ladinsky states on page 23: “Providing transition-based medical care can be

lifesaving treatment” (emphasis added). But if the patient has a diagnosis which requires lifesaving

treatment, then why isn’t this treatment recommended to all patients with such a diagnosis? There

is no other clinical scenario where care considered to be “lifesaving” is not uniformly

recommended to anyone who has a diagnosis which requires such intervention. To be sure, there

are clinical scenarios where the diagnosis is uncertain or an intervention is experimental/emerging

and shared decision-making is required. (Such interventions are given weak recommendations or

are not typically recommended because the evidence quality is so low. An example in the field of

gynecology is routine hysterectomy for the treatment of patients with the diagnosis of

endometriosis). But it is completely at variance to have patients treated on an individualized basis

for a diagnosis that requires “lifesaving” interventions; the recommendation should always be for

that intervention if the diagnosis requires it, and a patient is free to agree to it or not. It is highly

curious—and casts doubts on the enterprise—that in gender medicine, “lifesaving” care is only

recommended some of the time; if it truly is “lifesaving,” one would expect it to be recommended




                                                   59
     Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 61 of 78




all the time. Only if it isn’t truly “lifesaving” could it follow that individual approaches to

management are accepted. It cannot be both.11

        140.   My primary concerns as an obstetrician gynecologist are the unknown and known

fertility effects that early pubertal suppression and cross-sex hormone administration has on female

and male minors, both children and adolescents, during early pubertal development. Ample

evidence exists for the inability of children to assent to these interventions on their healthy bodies

where no physical locus of gender resides. (Abbruzzese & Levine 2023; Levine et al. 2022; Harris

2020). The process of physical alteration creates unethical risks that these children and young

people are subjected to for the rest of their lives, which are life limiting. Moreover, our current

ability to “preserve fertility” in children and young adolescents in whom puberty is blocked in

Tanner stage 2 are nascent, largely unavailable, and experimental, making any discussion about

“fertility preservation” for these children an exercise in disingenuousness.

        141.   It is my opinion that physicians who provide medicalized gender affirming care to

minors believe they are helping children because they are following the guidelines set forth by

leading professional medical societies in the United States. However, what is occurring now in the

United States, in spite of much of the world (where these interventions were originally studied)




11
   As an example in obstetrics, a pregnant patient who experiences the diagnosis of eclamptic
seizure requires immediate administration of medications such as magnesium sulfate to provide
neuroprotection and reduce significant risk to her life; the intervention with medications to stop
the seizure is lifesaving. Because it is a lifesaving intervention for all pregnant women who have
the diagnosis of eclampsia, there is no shared decisionmaking to treat the woman with this
diagnosis; the recommendation 100% of the time is to perform the intervention to stop the seizure.
Another example is for pregnant women who have the diagnosis of complete placenta previa. It is
100% of the time recommended for all patients with this diagnosis to undergo cesarean to deliver
their infant, and it is 100% not recommended (contraindicated) to undergo a vaginal birth for
delivery. This is because the intervention of cesarean birth is lifesaving: it significantly reduces
the risk of catastrophic maternal hemorrhage that a vaginal birth would uniformly cause for all
women with the diagnosis of complete placenta previa.


                                                 60
Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 62 of 78
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 63 of 78




                                            References

Dorland’s Illustrated Medical Dictionary 29th edition. W.B Saunders Company. 2000.

Biggs M. The Dutch Protocol for Juvenile Transsexuals: Origins and Evidence. J of Sex and
Marital Therapy 2022 https://doi.org/10.1080/0092623X.2022.2121238

Bangalore Krishna K, Fuqua J, Rogol A, et al. Use of Gonadotropin-Releasing Hormone Analogs
in Children: Update by an International Consortium. Horm Res Paediatr 2019; 91:357-372

Coleman E, Radix AE, et al. Standards of Care for the Health of Transgender and Gender Diverse
People, Version 8, International Journal of Transgender Health 2022. 23:suppl 1, S1-S259
https://doi.org/10180/26895269.2022.2100644

Harris R, Kolatis I, Frader J. Ethical issues involving fertility preservation for transgender youth.
Journal      of     Assisted     Reproduction       and       Genetics      (2020)      37:2453-2462
https://doi.org/10.1007/s10815-020-01873-9

de Blok C, Wiepjes C, van Velzen D, et al. Mortality trends over five decades in adult transgender
people receiving hormone treatment: a report from the Amsterdam cohort of gender dysphoria.
Lancet Diabetes Endocrinol 2021; 9: 663-70
Schwartz D. (2021): Clinical and Ethical. Considerations in the Treatment of Gender Dysphoric
Children and Adolescents: When Doing Less is Helping More. Journal of Infant, Child, and
Adolescent Psychotherapy. https://doi.org/10.1080/15289168.2021.1997344

Byng R, Bewley S. Gender dysphoria: scientific oversight falling between responsible institutions
should worry us all. BMJ Letters.2019;367:l6429 doi:1136/bmj.l6439

Griffin L, Clyde K, Byng R, Bewley S. Sex, gender and gender identity: a re-evaluation of the
evidence. BJPsych Bulletin (2020). https://doi:10.1192/bjb.2020.73

Biggs, M. Suicide by Clinic-Referred Transgender Adolescents in the United Kingdom. LTE
Archives of Sexual Behavior (2022) 51:685-690 https://doi.org/10.1007/s10508-022-02287-7

American Psychiatric Association 2013. Gender Dysphoria. Diagnostic and Statistical Manual of
Mental Disorders. 5th ed.

Carmichael P, Butler G, Masic U, et al. Short-term outcomes of pubertal suppression in a selected
cohort of 12 to 15 year old youg people with persistent gender dysphoria in the UK. PLOS One
Feb 2021. https://doi.org/10.1371/journal.pone.023894 (11)

Cass, Hillary. The Cass Review Interim Report Feb. 2022. https://cass.independent-
review.uk/publications/interim-report/ (12)




                                                 62
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 64 of 78




National Institute for Health and Care Excellence (2020). Evidence Review: Gonadotrophin
Releasing Hormone Analogues for Children and Adolescents with Gender Dysphoria.
https://cass.independent-review.uk/nice-evidence-reviews/ (13)

National Institute for Health and Care Excellence (2020). Evidence Review: gender-affirming
hormones for children and adolescents with gender dysphoria. https://cass.independent-
review.uk/nice-evidence-reviews/

Swedish Agency for Health Technology Assessment and Assessment of Social Services. Gender
dysphoria in children and adolescents: an inventory of the literature. Dec 20, 2019

Pasternack I, Soderstrom I, Saijonkari M, Makela M. Medical methods in the treatment of gender
dysphoria related to gender variations. A systematic review. Helsinki 15/5/2019. Finland

Council for Choices in Health Care in Finland (COHERE). Medical treatments for gender
dysphoria that reduces functional capacity in transgender people- recommendation. 11 June 2020
www.palveluvalikoima.fi/en

Hembree W, Cohen-Kettenis P, Gooren L, et al. Endocrine Treatment of Gender-
Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice Guideline. J Clin
Endocrinol Metab 2017. 102(11):3869-3903
https://doi.org/10.1210/jc.2017-01658

Abbruzzese E, Levine S, Mason J. The Myth of “Reliable Research” in Pediatric Gender Medicine:
A critical evaluation of the Dutch Studies—and research that has followed. 2022. Journal of Sex
and Marital Therapy https://doi.org/10.1080/0092623X/2022.2150346

Olsen-Kennedy J, Chan YM, Garofalo R, et al. Impact of Early Medical Treatment for Transgender
Youth: Protocol for the Longitudinal, Observational Trans Youth Care Study JMIR Res Protoc
2019;8(7):e14434
Choi J, Kim T J. Fertility Preservation and Reproductive Potential in Transgender and Gender
Fluid Population. Biomedicines 2022, 10, 2279. https://doi.org/10.3390/biomedicines10092279

Klipstein S, Fallt M, Savelli S. AAP Committee On Bioethics, AAP Section on
Hematology/Oncology, AAP Section on Surgery. Fertility Preservation for Pediatric and
Adolescent Patients With Cancer: Medical and Ethical Considerations. Pediatrics
2020;145(3):e20193994

Pang K, Peri A, Jayasinghe Y. Rates of Fertility Preservation Use Among Transgender
Adolescents. JAMA Pediatric. 2020 Sept;174(9):890-891 (55)

Cheng P, Pastuszak AW, Myers JB, et al. Fertility concerns of the transgender patient. Transl
Androl Urol 2019;8(3):209-218

Light A, Obedin-Maliver J, Sevelius JM, Kerns JL. Transgender Men Who Experienced
Pregnancy After Female-to-Male Gender Transitioning. Obstet Gynecol 2014;124(6):1120-1127



                                              63
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 65 of 78




Ainsworth A, Allyse M, Khan Z. Fertility Preservation for Transgender Individuals: A Review.
Mayo Clin Proc. April 2020;95(4):784-792

Ibtisham F, Wu J, Xiao M, et al. Progress and future prospect of in vitro spermatogenesis.
Oncotarget 2017. Vol 8 No.39 pp66709-66727

Ibtisham F, Honaramooz A. Spermatogonial Stem Cells for In Vitro Spermatogenesis and in Vivo
Restoration of Fertility. Cells 2020; 9, 745

Bell and Mrs A v. The Tavistock and Portman NHS Foundation Trust. Approved Judgment. (2020)
EWHW 3274 (1 December 2020).
https://www.judiciary.uk/wp-content/uploads/2022/07/Bell-v-Tavistock-Judgment.pdf

The Tavistock and Portman NHS Foundation Trust. Board of Directors Part One. Agenda and
papers of a meeting to be held in public. June 23, 2015. Board Room, Tavistock Center. London,
UK

American College of Obstetricians and Gynecologists (ACOG) Committee Opinion 685,
Committee on Adolescent Health Care. Care for Transgender Adolescents. Jan 2017, reaffirmed
2020, withdrawn Feb 2021 (archived report)

ACOG Committee Opinion 760, Committee on Adolescent Health Care. Dysmenorrhea and
Endometriosis in the Adolescent. Dec 2018,
reaffirmed 2021

ACOG Committee Opinion 695, Committee on Ethics. Sterilization of Women: Ethical Issues and
Considerations. April 2017, reaffirmed 2020

ACOG Practice Bulletin No. 208: Benefits and Risks of Sterilization. Obstet and Gynecol.
2019;133(3):194-207

ACOG Committee Opinion No. 823. Committee on Gynecologic Practice and Committee on
Health Care for Underserved Women. Health Care for Transgender and Gender Diverse
Individuals. Obstet Gynecol Vol 137 No.3, March 2021

de Vries A, Steensma T, Doreleijers AH, Cohen-Kettenis P. Puberty Suppression in Adolescents
With Gender Identity Disorder: A Prospective Follow-Up Study. J Sex Med 2011;8:2276-2283

Krakowsky Y, Potter E, Hallarn J, et al. The Effect of Gender-Affirming Medical Care on the
Vaginal and Neonvaginal Microbiomes of Transgender and Gender-Diverse People (2022) Front.
Cell. Infect. Microbiol 11:769950

World Professional Association for Transgender Health. (2012). Standards of Care for the Health
of Transsexual, Transgender, and Gender Nonconforming People [7th Version].
https://www.wpath.org/publications/soc



                                              64
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 66 of 78




Emmanuel M, Bokor BR. Tanner Stages (Updated 2022 Dec 11) StatPearls Publishing.
https://www.ncbi.nlm.nih.gov/books/NBK470280

Hardin AP, Hackell JM, AAP Committee on Practice and Ambulatory Medicine. Age Limit of
Pediatrics. Pediatrics. 2017;140(3):320172151

de Vries A, Cohen-Kettenis P. Clinical Management of Gender Dysphoria in Children and
Adolescents: The Dutch Approach. Journal of Homosexuality 2012; 59:301-320

Coleman E, Radix A, Bouman WP et al (2022) Standards of Care for the Health of Transgender
and Gender Diverse People, Version 8, International Journal of Transgender Health, 23:sup1, S1-
S259, DOI: 10.1080/26895269.2022.2100644
Sax L. How common is intersex? A response to Ann Fausto-Sterling. J Sex Res 2022; 39(3):174-
8

Mahfouda S, Moore JK, Siafarikas A, et al. Puberty suppression in transgender children and
adolescents. Lancet Diabetes Endocrinol 2017;5:816-26

Langman’s Medical Embryology, 8th ed. 2000 TW Sadler. Lippincott Williams and Wilkins

Langman’s Medical Embryology, 15th ed. 2024 TW Sadler. Wolters-Kluwer

Clinical Gynecologic Endocrinology and Infertility 7th ed. 2005. Speroff and Fritz. Lippincott
Williams and Wilkins

Bai J, Qi QR, Li Y, et al. Estrogen Receptors and Estrogen-Induced Uterine Vasodilation in
Pregnancy. Int. J. Mol. Sci 2020, 21, 4349; doi:10.3390/ijms21124349

Li Y, Han B, Salmeron AG et al. Estrogen-Induced Uterine Vasodilation in Pregnancy and
Preeclampsia. Maternal Fetal Med. 2022;4:(1);52-60

ACOG Committee Opinion No. 651. Committee on Adolescent Health Care. Menstruation in Girls
and Adolescents: Using the Menstrual Cycle as a Vital Sign. Dec 2015, reaffirmed 2020

Klink D, Caris M, Heijboer A, et al. Bone Mass in Young Adulthood Following Gonadotropin-
Releasing Hormone Analog Treatment and Cross-Sex Hormone Treatment in Adolescents With
Gender Dysphoria. J Clin Endocrinol Metab Feb 2015; 100(2):E270-E275

Manasco P, Pescovitz O, et al. Resumption of Puberty After Long term Luteinizing Hormone
Releasing Hormone Agonist Treatment of Central Precocious Puberty. J Clin Endocrinol Metab
1988; (67) 2: 368-372

Martinerie L, de Mouzon J, et al. Fertility of Women Treated during Childhood with Triptorelin
(Depot Formulation) for Central Precocious Puberty: the PREFER Study. Horm Res Paediatr
2020; 93:529-538



                                              65
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 67 of 78




Moravek M. Gender-Affirming Hormone Therapy for Transgender Men. Clinical Obstetrics and
Gynecology 2018;61(4):687-704

De Nie I, Mulder CL, Meibner A, et al. Histological study on the influence of puberty suppression
and hormonal treatment on developing germ cells in transgender women. Human Reproduction
2022; 37(2):297-308

Moravek M, Kinnear H et al. Impact of Exogenous Testosterone on Reproduction in Transgender
Men. Endocrinology. 2020 Mar; 161(3):bqaa014 doi:10.1210/endocr/bqaa014

Goodman N, Cobin R, Futterweit W, et al. AACE/ACE Disease State Clinical Review: American
Association of Clinical Endocrinologists, American College of Endocrinology, and Androgen
Excess and PCOS Society Disease State Clinical Review: Guide to the Best Practices in the
Evaluation and Treatment of Polycystic Ovary Syndrome – Part 1. Endocrine Practice Vol 21 No.
11 Nov 2015: 1291-1300

ACOG Clinical Consensus No 3, Sept 2022. Committee on Clinical Consensus-Gynecology.
General Approaches to Medical Management of Menstrual Suppression

ACOG Committee Opinion No 789. Committee on Adolescent Health Care. Screening and
Management of the Hyperandrogenic Adolescent. Oct 2019, reaffirmed 2020

Dubey P, Reddy S, Alvarado L, et al. Prevalence of at-risk hyperandrogenism by age and
race/ethnicity among females in the United States using NHANES III. European Journal of
Obstetrics & Gynecology and Reproductive Biology 260 (2021): 189-197

ACOG Practice Bulletin No. 194. Polycystic Ovary Syndrome. June 2018

Liu M, Murthi S, Poretsky L. Polycystic Ovary Syndrome and Gender Identity. Yale Journal of
Biology and Medicine 93 (2020):529-537

Xu L, Yuan Y, Che Z, Tan X, Wu B, Wang C, Xu C and Xiao J (2022) The Heteroprotective and
Hepatotoxic Roles of Sex and Sex-Related Hormones. Front. Immunol. 13.939631

Vassilatou E. Nonalcoholic fatty liver disease and polycystic ovary syndrome. World J
Gastroenterol 2014; 20(26):8351-8363

Northrup PG, Sundaram V, Fallon MB, Reddy KR, Balogun RA, Sanyal AJ, Anstee QM, Hoffman
MR, Ikura Y, Caldwell SH. The Coagulation in Liver Disease Group. Hypercoagulation and
thrombophilia in liver disease. Thromb Haemost 2008; 6:2-9

Hashemi L, Zhang Q, Getahun D, et al. Longitudinal Changes in Liver Enzyme Levels Among
Transgender People Receiving Gender Affirming Hormone Therapy. J Sex Med 2021 Sept:18
(9):1662-1675




                                               66
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 68 of 78




Cervi A, Balitsky AK. Testosterone use causing erythrocytosis. CMAJ 2017 Oct
16;189(41):E1286-E1288

Aranda G, Halperin I, Gomez-Gil E et al. Cardiovascular Risk Associated With Gender Affirming
Hormone Therapy in Transgender Population. Mini Review (2021) Front. Endocrinol.
12:7182000.
Doi:10.3389/fendo.2021.7182000 (38)

News Release 23 Feb 2023. Ahmed I. Hormone therapy for gender dysphoria may raise
cardiovascular risks. Meeting Announcement American College of Cardiology. ‘Cardiovascular
Outcomes in Gender Dysphoric Patient Undergoing Hormone Replacement Therapy’ Study
presented Sunday March 5, 2023 American College of Cardiology Annual Scientific Session
together with the World Congress of Cardiology.

Nota N, Wiepjes C, de Blok C, Gooren L, Kreukels BPC, den Heijer M. Occurrence of Acute
Cardiovascular Events in Transgender Individuals Receiving Hormone Therapy. Circulation.
March 2019; 139(11):1461-1462

Chan KJ, Liang BS, Jolly D, Weinand JD, Safer J. Exogenous Testosterone Does Not Induce or
Exacerbate the Metabolic Features Associated with PCOS Among Transgender Men. Endocrine
Practice June 2018; 24(6): 565-572

Schtte M, Kleermann R, Nota N, Wiepjes C, Snabel JM, T’Sjoen G, Thijs A, den Heijer M. The
effect of transdermal gender-affirming hormone therapy on markers of inflammation and
hemostasis (2022). PLos ONE 2022; 17(3):e0261312


Stone T, Stachenfeld N. Pathophysiological effects of androgens on the female vascular system.
Biology of Sex Differences (2020)11:45. https://doi.org/10.1186/s13293-020-00323-6) (40)

Sallam T, Watson K. Predictors of cardiovascular risk in women. Womens Health (Lond).2013;
9(5):491-498

Gulanski BI, Flannery CA, Peter PR, Leone CA, Stachenfeld NS. Compromised endothelial
function in transgender men taking testosterone. Clin Endocrinol (Oxf). 2020;92:138-144
https://doi.org/10.1111/cen.14132

ACOG Practice Bulletin No. 206 Feb 2019 reaffirmed 2022. Use of Hormonal Contraception in
Women with Co-existing Medical Conditions

Velho I, Fighera TM, Ziegelmann PK, Spritzer PM. Effects of testosterone therapy on BMI, blood
pressure, and laboratory profile of transgender men: a systematic review. Andrology. 2017; 5: 881-
888




                                               67
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 69 of 78




Grimstad FW, Fowler KG, New EP, et al. Ovarian Histopathology in Transmasculine Persons on
Testosterone: A multicenter case series. J Sex Med. 2020 September;17(9):1807-1818.
Doi:10.1016/jsxm.2020.05.029

ACOG Committee Opinion No. 484. Committee on Gynecologic Practice. Performance
Enhancing Anabolic Steroid Abuse in Women. April 2011, reaffirmed 2021

Wierman ME, Arlt W, Basson R, et al. Androgen Therapy in Women: A Reappraisal: An
Endocrine Society Clinical Practice Guideline. J Clin Endocrinol Metab. 2014;99(10):3489-3510

Rivera CM, Grossart BR, Rhodes DJ, et al. Increased cardiovascular mortality following early
bilateral oophorectomy. Menopause 2009; 16(1):15-23

ACOG Practice Bulletin No. 114. Management of Endometriosis July 2010, reaffirmed 2022

https://www.dea.gov

O’Connor R, Scott M, Bakkar R, Rimel BJ. A case of endometrial intraepithelial neoplasia in a
transgender man on testosterone therapy. Gynecologic Oncology Reports 42(2022).
https://doi.org/10.1016/j.gore.2022.101031)

Carbonnel M, Karpel L, Cordier B, et al. The uterus in transgender men. Fertility and Sterility Oct
2021; 116(4):931-935

Krakowsky Y, Potter E, Hallarn J, et al. The Effect of Gender-Affirming Medical Care on the
Vaginal and Neovaginal Microbiomes of Transgender and Gender-Diverse People. 2021. Front
Cell. Infect. Microbiol 11:769950 doi:10.3389/fcimb.2021.769950

Trum H, Hoebeke P, Gooren L. Sex reassignment of transexual people from a gynecologist’s and
urologist’s perspective. Acta Obstet Gynecol Scand 2015; 94:5 (563-567)

Millington K, Hayes K, Pilcher S, et a. A serous borderline ovarian tumour in a transgender male
adolescent. British Journal of Cancer (2021) 124:567-569

Donnez J, Dolmans, MM. Fertility Preservation in Women. N Engl J Med 2017;377:1657-65

Diaz AA, Kubo H, Handa N, Hanna N and Laronda MM (2022) A Systematic Review of Ovarian
Tissue Transplantation Outcomes by Ovarian Tissue Processing Size for Cryopreservation. Front.
Endocrinol. 13:918899

Rowell E, Duncan F, Laronda M. March 26, 2020. Consider This: ASRM removes the
experimental label from Ovarian Tissue Cryopreservation (OTC): pediatric research must
continue.    https://www.fertstert.org/news-do/asrm-removes-experimental-label-ovarian-tissue-
cryopreservation-otc-pediatric-research




                                                68
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 70 of 78




Nahata L, Woodruff T, Quin G et al. Ovarian tissue cryopreservation as standard of care: what
does this mean for pediatric populations? Journal of Assisted Reproduction and Genetics (2020)
37:1323-1326

Gjeterud J, Kristensen S, Fedder J. Indications for cryopreservation and autotransplantation of
ovarian tissue. Review. Tidsskr Nor Legeforen. October 2021. Doi: 10.4045/tidsskr.21.0030

Demeestere I, Simon P, Dedeken L, et al. Live birth after autograft of ovarian tissue cryopreserved
during childhood. Human Reproduction. 2015. Vol 30, No. 9 pp 2107-2109

Matthews S, Picton H, Ernst E, Andersen C. Successful pregnancy in a woman previously
suffering from B-thalassemia following transplantation of ovarian tissue cryopreserved before
puberty. Minerva Ginecologica 2018 August;70(4):432-5

Rodriguez-Wallberg K, Milenkovic M, Papaikonomou K, et al. Successful pregnancies after
transplantation of ovarian tissue retrieved and cryopreserved at time of childhood acute
lymphoblastic leukemia – a case report. Haematologica 2021;106 (10):2783-2787

Corkum K, Rhee D, Wafford E et al. Fertility and hormone preservation and restoration for female
children and adolescents receiving gonadotoxic cancer treatments: A systematic review. Journal
of Pediatric Surgery 54 (2019) 2200-2209. https://doi.org/10.1016/j.pedsurg.2018.12.021

Gilchrist R, Smitz J. Oocyte in vitro maturation (IVM): physiological basis and application to
clinical practice. Fertility and Sterility (2023) https://doi.org/10.1016/j.fertnstert.2023.02.010

Segers I, Bardhi E, Mateizel I, et al. Live births following fertility preservation using in-vitro
maturation of ovarian tissue oocytes. Human Reproduction 2020;35(9):2026-2036

Segers I, Mateizel I, Van Moer E, et al. In vitro maturation (IVM) of oocytes recovered from
ovariectomy specimens in the laboratory: a promising ‘ex vivo’ method of oocyte cryopreservation
resulting in the first report of an ongoing pregnancy in Europe. J Assit Reprod Genet (2015)
32:1221-1231 https://doi:10.1007/s10815-015-0528-9

De Roo C, Tilleman K. In Vitro Maturation of Oocytes Retrieved from Ovarian Tissue: Outcomes
from current Approaches and Future Perspectives. J. Clin Med 2021, 10, 4680.
https://doi.org/10.3390/jcm10204680

Stolk THR, Asseler JD, Huirne JAF, et al. Desires for children and fertility preservation in
transgender and gender-diverse people: A systematic review. Best Practice and Research Clinical
Obstetrics and Gynecology, https://doi.org/10.1016/j.bpobgyn.2023.102312

Polyzos N, Drakopoulos P, Parra J, et al. Cumulative live birth rates according to the number of
oocytes retrieved after the first ovarian stimulation for in vitro fertilization/intracytoplasmic sperm
injection: a multicenter multinational analysis including 15,000 women. Fertility and Sterility.
Vol. 110, No. 4, Sept 2018. https://doi.org/10.106/j.fertnstert.2018.04.039




                                                  69
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 71 of 78




ACOG Committee on Obstetric Practice, Committee on Genetics. Opinion no. 671: Perinatal Risks
Associated With Assisted Reproductive Technology. Sept 2016, reaffirmed 2020

Practice Committee of the American Society for Reproductive Medicine. Fertility preservation in
patients undergoing gonadotoxic therapy or gonadectomy: a committee opinion. Fertil Steril
2019;112:1022-33. https://doi.org/10.1016/j.fertnstert.2019.09.013

Tesarik J, Bahceci M, Ozcan C, et al. Restoration of Fertility by in-vitro spermatogenesis. Lancet.
1999; 353(9152):555-556

Ntemou E, Alexandri C, Lybaert P, et al. Oncofertility: Pharmacological Protection and Immature
Testicular Tissue (ITT) – Based Strategies for Prepubertal and Adolescent Male Cancer Patients.
Int. J. Mol. Sci. 2019, 20, 5223; doi:10.3390/ijms20205223

Delessard M, Stalin L, Rivers-Feraille A, et al. Achievement of complete in vitro spermatogenesis
in testicular tissues from prepubertal mice exposed to mono-or polychemotherapy. Scientific
Reports (2022) 12:7407 https://doi.org/10.1038/s41598-022-11286-6

Ibtisham F, Wu J, Xiao M, et al. Progress and future prospect of in vitro spermatogenesis.
Oncotarget, 2017, Vol. 8 (no. 39), pp:66709-66727

Wang D, Hildorf S, Ntemou E, et al. Characterization and Survival of Human Infant Testicular
Cells After Direct Xenotransplantation (2022) Front. Endocrinol. 13:853482. Doi:
10.3389/fendo.2022.853482

Yuan Y, Li L, Cheng Q, et al. In vitro testicular organogenesis from human fetal gonads produces
fertilization-competent spermatids. Cell Research 2020; 30:244-255
Levine S, Abbruzzese E, Mason J. What are we Doing to These Children? Response to Drescher,
Clayton, and Balon Commentaries on Levine et al., 2022. Journal of Sex and Marital Therapy
2023, Vol 49, No. 1, 115-125 (78)

Schwartz A, Moravek M. Reproductive potential and fertility preservation in transgender and
nonbinary individuals. Curr Opin Obstet Gynecol 2021, 33:327-334 (54)

T’Sjoen G, Van Caenegam E, Wierckx K. Transgenderism and reproduction Curr Opin Endocrinol
Diabetes Obes 2013, 20:575-579

Robinson I, Carswell J, Boskey E, et al. Gender Surgery in Adolescents and Young Adults: A
Review of Ethical and Surgical Considerations. Plast Reconstr Surg. 2023. DOI:
10.1097/PRS.0000000000010325

Negenborn VL, van der Sluis WB, Meijerink WJHJ, Bouman MB. Lethal Necrotizing Cellulitis
Caused by ESBL-Producing E. Coli after Laparoscopic Intestinal Vaginoplasty. J Pediatr Adolesc
Gynecol. 2017 Feb;30(1):e19-e21 doi:10.1016/j.jpag.2016.09.005




                                                70
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 72 of 78




Kalin NH: Reassessing mental health treatment utilization reduction in transender individuals after
gender-affirming surgeries: a comment by the editor on the process(letter). Am J Psychiatry
2020;177:765

Singh B, Nunn K, Martin J, Yates J. Abnormal treatment behaviour. British Journal of Medical
Psychology (1981) 54:67-73




                                                71
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 73 of 78




Angela C.E. Thompson, MD, MPH, FACOG
Curriculum Vitae

651-410-4140

Present Academic Rank and Position

Attending Physician - OB Hospitalist Group, 02/2021 – present

Consultant Physician (supplemental coverage)– Mayo Clinic Department of Obstetrics and
Gynecology Rochester, MN USA 11/2021 – present

Previous Professional Positions and Major Appointments

Consultant - Division of Obstetrics, Department of Obstetrics &
Gynecology, Mayo Clinic, Rochester, Minnesota
04/2017 – 01/2021

Instructor in Obstetrics and Gynecology - Mayo Clinic Alix School of Medicine and
Science
06/2014 – 01/2021

Senior Associate Consultant - Department of Obstetrics & Gynecology,
Mayo Clinic, Rochester, Minnesota
05/2014 – 01/2021

Attending physician, Obstetrics and Gynecology - United Family Hospitals
and Clinics, Shanghai, China
2012 - 2014

Attending physician, Obstetrics and Gynecology - Franciscan Skemp Medical
Center, Inc., Mayo Clinic Health System - Franciscan Healthcare in La Crosse,
Mayo Clinic Health System, La Crosse, Wisconsin
10/2010 - 12/2013

Attending physician, Obstetrics and Gynecology – 02/2010-10/2010 UW
Health Watertown, WI; BDCH Beaver Dam, WI

Attending physician, Obstetrics and Gynecology - Altru Health System/Grand
Forks Clinic, North Dakota
02/2008 - 01/2010


Certification
Board Certifications
American Board of Obstetrics and Gynecology
Obstetrics and Gynecology 2012 - Present
American College of Obstetricians and Gynecologists
Fellow, Obstetrics and Gynecology 2012 - Present
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 74 of 78




Licensure
North Dakota (Medicine and Surgery) 01/2008 - Present
Wisconsin (Medicine and Surgery) 01/2010 - Present
Minnesota (Medicine and Surgery) 11/2013 – Present
Texas (Medicine and Surgery) 02/2021 - Present
Florida (Medicine and Surgery) 12/2020 – Present
Arkansas (Medicine and Surgery) 02/2021 – present
People’s Republic of China 03/2012 – 04/2014

Committees
Minnesota Department of Corrections Task Force on Justice Involved Women and Girls
Appointed 8/2022, reappointed 1/2023
Minnesota Mortality Review Committee. Appointed 2019 - 2021

Education
University of Minnesota Medical School, Minneapolis, Minnesota – Medical Fellow, Department of
Obstetrics, Gynecology, and Women's Health 06/2004 - 06/2008

University of Utah School of Medicine, Salt Lake City, Utah - MD 09/2000-
05/2004

Yale University School of Medicine, New Haven,
Connecticut - MPH, Master of Public Health and Epidemiology 09/1998 - 05/2000

University of Wisconsin - Madison, Madison, Wisconsin - BS 09/1992 - 05/1996

Honors and Awards

CREOG National Teaching Award –American College of Obstetrics and Gynecology, Council for Resident
Education in Obstetrics and Gynecology. Awarded to faculty by the residents in Obstetrics and
Gynecology at Mayo Clinic - 06/2019

Teacher of the Year Award – Mayo Clinic Alix School of Medicine - 06/2019


Raymond J. Albrecht Award - University of Minnesota Department of
Obstetrics, Gynecology, and Women's Health
Awarded to the graduating resident exemplifying the highest values of the practice
06/2008

Arnold P. Gold Foundation Humanism and Excellence in Teaching Award
- Arnold P. Gold Foundation – 2006

Best PGY-2 Teaching Resident - University of Minnesota Medical
School, Minneapolis, Minnesota - 2006

Additional Education

Royal College of Obstetricians and Gynecologists
World Congress Annual Meeting
London, United Kingdom
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 75 of 78



06/2019

ACOG District II Annual Meeting
ACOG District II, New York, New York
10/2014, 10/2015, 10/2016, 10/2018, 10/2019

American College of Obstetrics and Gynecology (ACOG)
Department of Patient Safety and Quality Improvement, Washington DC,
United States of America
04/2017 - 04/2017

National Rural Health Association Conference
Obstetric Care and Hospital Closures in Rural Areas, San Diego, California
05/2017 - 05/2017

High Risk and Critical Care Obstetrics
Symposia Medicus
05/2016

Society of Obstetrics and Gynecology Canada
ALARM course, Winnipeg, Manitoba
10/2016 - 10/2016

Management of the Labour Ward
Royal College of Obstetricians and Gynecologists, London, United Kingdom
06/2015 - 06/2015


Administrative Responsibilities, Committee Memberships

Mayo Clinic Rochester, MN USA
OB/GYN Quality Committee
Active Member 2016 - 2021
Department of Obstetrics & Gynecology
FBC Inpatient Practice Group
Active Member 2014 - 2021
FBC Labor & Delivery / Triage Practice Group
Active Member 2014 - 2021
Perinatal Practice Group
Active Member 2014 – 2021

Academic Career Development
Mayo Clinic Quality Fellow, Silver Certification 2021

American Congress of Obstetricians and Gynecologists (ACOG) Quality and
Safety for leaders in Women's Health Care
Washington, District of Columbia
04/2017
Professionalism 1
Office of Leadership and Organizational Development
Rochester, Minnesota
05/2014
Healthy Dialogue
Office of Leadership and Organizational Development
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 76 of 78



Rochester, Minnesota
05/2014
Leading with Emotional Intelligence
Office of Leadership and Organizational Development
Rochester, Minnesota
08/2015

Professionalism 2
Office of Leadership and Organizational Development
Rochester, Minnesota
08/2015
Communication in Healthcare
Office of Leadership and Organizational Development
Rochester, Minnesota
08/2015

Professionalism 3
Office of Leadership and Organizational Development
Rochester, Minnesota
06/2016


Professional Memberships and Societies
Professional Memberships and Services
American College of Obstetricians and Gynecologists (ACOG)
Member 2012 - Present

Royal College of Obstetricians and Gynaecologists
(RCOG) Associate Member 2019- Present

Education Interests and Accomplishments
Teaching

OB Clinical Skills workshop
Instructor
Mayo Medical School
Rochester, Minnesota
07/2014, 07/2015, 07/2017, 07/2020

Mayo Clinic Department of Obstetrics and Gynecology
Clinical Reviews
OB emergency Simulation: Maternal Code
Rochester, MN
11/2016, 11/2017


MMSI Surgical Skills lab instructor
Mayo Medical School
Rochester, Minnesota
03/2015

Intrapartum Fetal Monitoring Review
Mayo Clinic Department of Ob/Gyn
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 77 of 78



Rochester, Minnesota
01/2015

Chief Case Review
Mayo Clinic OB/Gyn Residency Program
Rochester, Minnesota
12/2014

Presentations Extramural
National or International
Invited
National Rural Health Association Conference
Obstetric Care and Hospital Closures in Rural Areas
San Diego, California
05/10/2017
Oral
Differences Between Hospitals in Cesarean Rates for Term Primigravadis With
Cephalic Presentation
Society for Gynecologic Investigation 2005 Annual Meeting
Houston, Texas
Poster
Acute Drug Abuse, Epidemiology and Local Trends
American Public Health Association Annual Meeting
Chicago, Illinois
1999
Regional
Oral
Macrophage Chemoattraction Protein-1Levels in Ovarian Cancer ’Matched’
Tumor Specimens: Coorelation Between Macrophage Infiltration and
Angiogenesis
University of Minnesota Resident Research Day
Minneapolis, Minnesota
05/2008

Clinical Practice, Interests, and Accomplishments
Maternal and child health quality; safety practices in both developed and low-resource settings. Volunteer
activities: Medical service to Seguin and Jacmel, Haiti.

Research Interests and Accomplishments
7/2006-5/2008: University of Minnesota Dept of Gynecologic Oncology Research assistant;
Investigated the role of MCP-1 production at the time of a secondary cytoreductive procedure amongst
patients with ovarian cancer and how it correlates with increased markers for angiogenesis and with poor
clinical outcome.
6/2003-5/2004: University of Utah Department of Obstetrics/Gynecology / Utah State
Dept. of Health, Clinical research assistant; Contributed to clinical research in cesarean delivery rates
and differences between hospitals in Salt Lake City.
5/2001-7/2001: University of Utah School of Medicine, Dept of Physiology, Experimental research
assistant; Helped conduct research studying surfactant production in neonatal respiratory distress
syndrome.
1/2000-5/2000: Yale University Dept of Molecular, Cellular, and Developmental Biology; Teaching
Assistant to undergraduate Developmental Biology course.
5/1999-8/1999: United States Public Health Service, Eastern Arizona Office of Environmental Health and
Engineering; Assisted in the development and implementation of injury prevention programs within four
Native American Nations in the southwestern United States.
  Case 2:22-cv-00184-LCB-CWB Document 557-10 Filed 05/27/24 Page 78 of 78



12/1996-4/1997: National Institute of Hygiene and Epidemiology, Hanoi, Vietnam: Research assistant
Contributed to ongoing research investigating enteric disease in children under five years of
age.

Peer-reviewed Articles

1. Kim S., King A., Parikh P., Sangtani A., Shazly S., Brodrick E., Thompson A. Optimizing Post-
Cesarean Opioid Prescription Practices at Mayo Clinic: A Quality Improvement Initiative. Am J
Perinatology 2022; 39(04): 337-341; doi:10.1055/s-0041-1739491

2. Shazly S, Ahmed I, Radwan A, Abd-Elkariem A, Ell-Dien N, Ragab E, Abouzeid M, Shams A,
Ali A, Hemdan H, Hemdan M, Nassr A, AbdelHafez A, Eltaweel N, Ghoniem K, Saman A, Ali M,
Thompson A. Middle East Obstetrics and Gynecology Graduate Education (MOGGE)
Foundation Practice Group. MOGGE Foundation Practice Guidelines: Prelabor rupture of
membranes; Practice Guideline No. 01-0-19. Journal of Global Health. (2020);
doi:10.7189/jogh.10.010325

3. Warner LL, Hunter Guevara LR, Barrett BJ, Arendt KW, Peterson AA, Sviggum HP, Duncan
CM, Thompson AC, Hanson AC, Schulte PJ, Martin DP, Sharpe EE. Creating a model to predict
time intervals from induction of labor to induction of anesthesia and delivery to coordinate
workload. International Journal of Obstetric Anesthesia (2020); doi:
https://doi.org/10.1016/j.ijoa.2020.12.004

4. Fischer A, LaCoursier Y. Differences Between Hospitals in Cesarean Rates for Term
Primigravidas With Cephalic Presentation. Obstetrics and Gynecology. 2005; 105:816-21. (former
last name of ‘Fischer’)
